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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


DAVID RONGE, Individually and on            Case No. 1:18-cv-07030
Behalf of All Others Similarly Situated,    (Consolidated)

                              Plaintiffs,   CLASS ACTION
       vs.                                  Judge Rebecca R. Pallmeyer
CAMPING WORLD HOLDINGS, INC.,
MARCUS A. LEMONIS, THOMAS F.
WOLFE, BRENT L. MOODY, STEPHEN
ADAMS, CRESTVIEW PARTNERS II GP,
L.P., CRESTVIEW ADVISORS, L.L.C.,
ANDRIS A. BALTINS, BRIAN P.
CASSIDY, MARY J. GEORGE, DANIEL
G. KILPATRICK, HOWARD A. KOSICK,
JEFFREY A. MARCUS, K. DILLON
SCHICKLI, GOLDMAN SACHS & CO.
LLC, J.P. MORGAN SECURITIES LLC,
MERRILL LYNCH, PIERCE, FENNER &
SMITH INCORPORATED, CREDIT
SUISSE SECURITIES (USA) LLC,
ROBERT W. BAIRD & CO.
INCORPORATED, BMO CAPITAL
MARKETS INC., KEYBANC CAPITAL
MARKETS INC., STEPHENS INC. and
WELLS FARGO SECURITIES, LLC,

                              Defendants.
                                            DEMAND FOR JURY TRIAL


          AMENDED CONSOLIDATED COMPLAINT FOR VIOLATIONS OF
                    THE FEDERAL SECURITIES LAWS
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       Plaintiffs, individually and on behalf of all others similarly situated, allege the following

based upon personal knowledge as to plaintiffs’ own acts and upon information and belief as to

all other matters based on the investigation conducted by and through plaintiffs’ attorneys. This

investigation included, among other things: review and analysis of U.S. Securities and Exchange

Commission (“SEC”) filings by Camping World Holdings, Inc. (“Camping World” or the

“Company”), review and analysis of Company press releases and earnings call transcripts,

review and analysis of information posted on the Company website, review and analysis of

analyst reports and media reports about the Company and the industry, and interviews with

former employees of Camping World. Plaintiffs believe that substantial additional evidentiary

support will exist for the allegations set forth herein after a reasonable opportunity for discovery.

                                 SUMMARY OF THE ACTION

       1.      This is a federal securities class action on behalf of all persons and entities who

purchased or otherwise acquired Camping World publicly traded Class A common stock during

the period from October 6, 2016 through August 7, 2018, inclusive (“Class Period”), including

those who purchased or acquired shares of Camping World Class A common stock in the

Company’s initial public offering, which occurred on or around October 6, 2016 (“October 2016

IPO”), and/or in the Company’s secondary offerings, which occurred on or around May 26, 2017

(“May 2017 Offering”) and October 27, 2017 (“October 2017 Offering), and who were damaged

by defendants’ alleged conduct (the “Class”). Excluded from the Class are Defendants, the

officers and directors of the Company during the Class Period, members of the immediate

families of any excluded persons, any entity in which a Defendant has a controlling interest, and

the legal representatives, heirs, successors or assigns of any such excluded party; provided,

however, that any “Investment Vehicle” shall not be excluded from the Class. “Investment

Vehicle” means any investment company or pooled investment fund, including, but not limited


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to, mutual fund families, exchange traded funds, fund of funds and hedge funds, in which

Defendants, or any of them, have, has or may have a direct or indirect interest, or as to which its

affiliates may act as an investment advisor, but in which any Defendant alone or together with

its, his or her respective affiliates is not a majority owner or does not hold a majority beneficial

interest. Also excluded from the Class are those Persons who timely and validly exclude

themselves therefrom. The Class seeks remedies under§§10(b) and 20(a) of the Securities

Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §78j(b) and 78t(a), and SEC Rule 10b-5, 17

C.F.R. §240.10b-5, promulgated thereunder, and §§11, 12(a)(2) and 15 of the Securities Act of

1933 (“Securities Act”), 15 U.S.C. §77k, 771(a)(2) and 77o.

       2.      This case arises from an unfortunate – but not uncommon – securities fraud

pattern wherein insiders boast of the great performance of a private company, take the company

public to raise money from investors, and then admit, after the insiders have cashed out massive

profits, that things are not nearly as good as investors were led to believe. Here, Camping

World’s stock was issued at $22 per share, run up to over $40 a share as the insiders made

significant stock sales, and then the truth was revealed, and the stock crashed and currently

trades at less than $15 per share.

       3.      Defendants took Camping World public as a means to cash out a portion of their

massive holdings in Camping World. The Company’s initial public offering (“IPO”) took place

in October 2016. In connection with the IPO and thereafter, defendants made a series of false

and misleading statements that artificially inflated the price of Camping World Class A common

stock. Defendants made false and misleading statements regarding the Company’s financial

performance, the effectiveness of internal controls to ensure accurate financial reporting, and the

success and profitability of the integration and rollout of Gander Mountain stores that the




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Company had recently acquired out of bankruptcy. Defendants then profited from the false and

misleading statements by selling Camping World stock at inflated prices.

        4.      Despite the overly rosy statements about Camping World’s performance and the

integration of Gander stores, less than two years after the IPO defendants admitted that the

Company’s publicly filed financial statements contained several errors due to numerous material

weaknesses in its controls over financial reporting and that the rollout of Gander Mountain stores

was, in the Chief Executive Officer’s (“CEO”) own words, a “giant sh** show” that was costing

the Company tens of millions of dollars. When these previously concealed facts were disclosed,

Camping World’s stock crashed and the Company’s investors suffered hundreds of millions of

dollars in losses.

        5.      Camping World specializes in the selling of recreational vehicles (“RVs”) and

services related to RV ownership and maintenance. In 2006, defendant Marcus Lemonis

(“Lemonis”) became President and CEO of Camping World. Since then, Lemonis, along with

defendant Stephen Adams (“Adams”) and defendant private equity firm Crestview Partners II

GP, L.P. (“Crestview”), collected massive stakes in the Company, becoming its majority and

controlling shareholders.

        6.      Lemonis’, Adams’, and Crestview’s ownership interests in Camping World were

largely illiquid without access to the public markets, so they took the Company public. Although

the IPO brought the Company into the public marketplace, Camping World remained structured

as a functionally private corporation, with Lemonis and the other insiders retaining majority

voting and decision-making power.

        7.      Issuing stock, and raising money from the public, came with obligations.

Camping World now had to publicly issue financial statements, and defendants had to truthfully




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answer questions from analysts and investors about the business. Defendant Lemonis admitted

his dislike for the disclosure obligations of being a public company, saying at the end of the

Class Period that he was “used to holding all my cards so I can sucker punch my competitor.”

This desire to keep information private led defendants to fraudulently conceal material negative

information from the investing public.

        8.      The Class Period starts on October 6, 2016, when defendants commenced the

Company’s IPO and falsely and misleadingly represented that the Company had effective

internal controls, when in fact it did not. Thereafter, on March 8, 2017, defendants issued

Camping World’s financial statements for the year and quarter ended December 31, 2016.

Unbeknownst to the Company’s public investors, the financial statements concealed that the

Company suffered numerous material weaknesses in its internal controls, reported basic earnings

per share (“EPS”) that were inflated by over 37%, and reported net income that was inflated by

nearly 20%. Defendants continued to conceal this information during the Class Period by

claiming the Company’s internal controls were effective and repeating the overstated 2016

financial results.

        9.      In addition, in May 2017, defendants announced that Camping World was

expanding its business into outdoor retail sales. Specifically, defendants announced that the

Company was the winning bidder to acquire the rights to Gander Mountain stores out of

bankruptcy, which would be rebranded as Gander Outdoors (“Gander”). To justify purchasing a

chain of stores that had gone bankrupt, defendants claimed they would only “open stores that

have a historical level of profitability” and that the acquisition would not hurt, but would

maintain, profit margins. Defendants repeatedly touted the integration and rollout of stores,

claiming that “early trends in these stores have been very promising,” and that Camping




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World’s systems allowed them to “stock the right products at the necessary locations, all at the

right time and in the correct quantity.” In truth, defendants concealed material, negative facts

from investors regarding the increased costs and technological incompatibility of integrating

high volume, lower-value Gander items into Camping World’s inventory and distribution

systems designed for its lower-volume, high-value RV business. These failures caused

significant cost increases, including increased labor costs, delayed inventory stocking,

distribution of less-desirable products, and related matters that delayed store openings and

negatively impacted profit margins. In fact, several Gander stores were closed just months after

re- opening due to these concealed integration failures and the selection of poor-performing

stores.

          10.   Despite the dysfunction occurring behind the scenes, throughout the Class Period,

defendants made overly rosy statements that concealed the increased costs and failures with the

Gander stores’ integration and rollout. Moreover, defendants took advantage of Camping

World’s artificially inflated share price by conducting secondary stock offerings in May 2017,

with an offering price that had climbed to $27.75 per share, and again in October 2017, with an

offering price that had climbed to $40.50 per share. Unlike the IPO, these secondary offerings

were not designed to raise capital for the Company, but primarily to cash out the insiders by

selling their stock. Crestview, for example, sold more than 13 million shares of Camping World

Class A stock in the secondary offerings for more than $450 million in gross proceeds. The

Company’s CEO, Chief Financial Officer (“CFO”), Chief Operating Officer (“COO”), and

President likewise all cashed out shares of Camping World stock during the Class Period at

inflated prices, collecting more than $70 million in gross proceeds.




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       11.     Then, toward the end of the Class Period, in a series of corrective disclosures,

Camping World shocked investors by revealing, inter alia, that: (i) there were several material

weaknesses in the Company’s controls over financial reporting, resulting in an overstatement of

the Company’s financials; and (ii) the Company’s integration and rollout of Gander stores was a

“giant sh** show” with substantially higher costs that were negatively impacting the Company’s

profit margins by tens of millions of dollars. The Gander store failures were the result of the

incompatibility of the inventory and distribution systems Camping World used for its existing

low- volume RV business and the newly acquired high-volume, lower-value Gander retail

inventory. Those severe operational issues, which defendants knew or recklessly disregarded in

conducting due diligence prior to the Gander acquisition, led to delayed store openings and

stores being rushed open with less desirable inventory.

       12.     Following the corrective disclosures, the Company’s Class A common stock,

which had traded above $47 per share during the Class Period, fell to $19 per share and now

trades at less than $15 per share, causing investors to suffer hundreds of millions of dollars in

losses. The dramatic decline in Camping World’s stock price stands in stark contrast to the

positive performance of the overall stock market during this period.

                                JURISDICTION AND VENUE

       13.     The claims asserted herein arise under and pursuant to §§11, 12(a)(2), and 15 of

the Securities Act, 15 U.S.C. §§77k, 77l(a)(2), and 77o, §§10(b) and 20(a) of the Exchange Act,

15 U.S.C. §§78j(b) and 78t(a), and SEC Rule 10b-5, 17 C.F.R. §240.10b-5, promulgated

thereunder.

       14.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§1331 and 1337, §22 of the Securities Act, 15 U.S.C. §77v, and §27 of the Exchange

Act, 15 U.S.C. §78aa.


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        15.     Venue is proper in this District pursuant to 28 U.S.C. §1391(b)-(c), §22 of the

Securities Act, 15 U.S.C. §77v, and §27 of the Exchange Act, 15 U.S.C. §77aa. Many of the acts

charged herein, including the dissemination of materially false and misleading information,

occurred in substantial part in this District, and the Company’s corporate headquarters are

located in this District.

        16.     In connection with the acts alleged in this complaint, defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not

limited to, the mails, interstate telephone communications and the facilities of the national

securities markets.

        17.     Plaintiffs assert securities fraud claims under the Exchange Act for materially

false and misleading statements made during the Class Period against Camping World and

certain of its officers, directors, and controlling shareholders.

        18.     In addition, starting at ¶195 below, plaintiffs assert non-fraud claims under the

Securities Act for false and misleading statements made in the registration statements and

prospectuses issued in connection with the October 2016 IPO, the May 2017 Offering, and the

October 2017 Offering against Camping World, certain of its officers, directors, and controlling

shareholders, and the underwriters of the offerings.

                                   EXCHANGE ACT CLAIMS

Plaintiffs

        19.     Lead plaintiff Oklahoma Police Pension & Retirement System purchased shares

of Camping World Class A common stock during the Class Period and was damaged thereby, as

detailed in its certification attached hereto and incorporated herein.




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         20.     Lead plaintiff City of Omaha Police & Fire Retirement System purchased shares

of Camping World Class A common stock during the Class Period and was damaged thereby, as

detailed in its certification attached hereto and incorporated herein.

         21.     Lead plaintiff City of Pontiac General Employees’ Retirement System purchased

shares of Camping World Class A common stock during the Class Period, including in the May

2017 Offering, and was damaged thereby, as detailed in its certification attached hereto and

incorporated herein.

         22.     Named plaintiff Plumbers & Steamfitters Local Union #486 Pension Fund

purchased shares of Camping World Class A common stock during the Class Period, including

in the October 2017 Offering, and was damaged thereby, as detailed in its certification attached

hereto and incorporated herein.

         23.     Named plaintiff Daniel Geis purchased shares of Camping World Class A

common stock during the Class Period, in the IPO, and was damaged thereby, as detailed in his

certification attached hereto and incorporated herein.

Defendants 1

         24.     Defendant Camping World is a retailer of RVs and outdoor supplies and

accessories headquartered in Lincolnshire, Illinois. The Company’s Class A common stock

trades on the New York Stock Exchange (“NYSE”) under the ticker symbol “CWH.”

         25.     Defendant Marcus A. Lemonis (“Lemonis”) has served as Chairman of the Board

and CEO of Camping World since the Company’s IPO.

         26.     Defendant Thomas F. Wolfe (“Wolfe”) served as CFO of Camping World from

the Company’s IPO until January 2019.



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         Additional defendants against whom Securities Act claims are alleged are listed in ¶¶201-212.


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       27.     Defendant Brent L. Moody (“Moody”) served as COO of Camping World from

the Company’s IPO until October 2018.

       28.     Defendant Stephen Adams (“Adams”) has served as a director of Camping World

since the Company’s IPO.

       29.     The defendants referenced above in ¶¶25-28 are collectively referred to herein as

the “Individual Defendants.”

       30.     Defendant Crestview Partners II GP, L.P. (“Crestview”) is a private equity firm

headquartered in New York City, New York. Throughout the Class Period, Crestview and its

affiliates held a substantial ownership stake in the Company and, together with Lemonis,

controlled its actions. Crestview also has several agreements and financial arrangements with the

Company, both directly and through various affiliates.

       31.     Defendant Crestview Advisors, L.L.C. (“Crestview Advisors”) is a registered

investment adviser to private equity funds, including the funds affiliated with Crestview that

invested in Camping World. Brian P. Cassidy, a partner at Crestview Advisors, and Jeffrey A.

Marcus, the Vice Chairman of Crestview Advisors, have served as directors of Camping World

since the Company’s IPO. Defendants Crestview and Crestview Advisors, together with their

affiliates, are collectively referred to herein as the “Crestview Defendants.”

                     EVENTS LEADING UP TO THE CLASS PERIOD

Camping World Prior to the IPO

       32.     Defendant Lemonis rose to the top of Camping World through prior relationships

and involvement in the RV industry. Notably, he has been accused of making misrepresentations

in prior business dealings, as he, among other things, ran and then fled an RV company that was

headed toward a collapse.




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       33.     Camping World was founded in 1966, and has grown through a series of

acquisitions since that time. Camping World sells RVs, RV-related services, such as roadside

assistance and protection plans, and RV-related products and accessories. In addition to the

Camping World brand, the Company also owns Good Sam, which cross-sells products and

services to RV owners and an RV membership service through its “Good Sam Club.”

       34.     Camping World had long been financially backed by defendant Adams, a private

equity investor who served as the Chairman of various Camping World predecessors since the

1980s. In or around 2002, Adams sought to acquire a struggling and cashed-strapped RV

business, Holiday RV Superstores (“Holiday RV”), which was run by defendant Lemonis. As

Holiday RV became increasingly insolvent in 2003, Adams loaned it money and acquired shares,

becoming the largest shareholder. Around the same time, Lemonis resigned from Holiday RV

and co-founded FreedomRoads, LLC (“FreedomRoads”) another RV dealership business

financially backed by Adams.

       35.     Within a year, Holiday RV was delisted from the NASDAQ, and Holiday RV

sued Lemonis for breaches of contract and fiduciary duty. Thereafter, Adams acquired all shares

of Holiday RV. Other Holiday RV investors accused Lemonis of making misrepresentations to

secure loans prior to his resignation.

       36.     Lemonis then grew FreedomRoads through the rapid acquisition of RV

dealerships. In 2006, Camping World and FreedomRoads formed a joint venture and Lemonis

became the CEO and President of both companies.

       37.     In 2011, Camping World formally combined with FreedomRoads, creating the

largest RV dealership business and provider of products and services for RVs in North America.

Lemonis remained CEO and President of the combined entity. Lemonis’ desire to keep




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information secret was discussed in describing the business combination. The RV Daily Report

noted that the combination was “done in complete secrecy,” and, as a result of the deal, Adams’

investment group would no longer “publicly release its financial statements – documents that

helped the industry understand the direction the company was headed.”              The publication

concluded, “[u]ndoubtedly, Lemonis has decided that he’s had enough of RV Daily Report

releasing information to his customers and competitors . . . he wants to keep his cards close to his

vest.” Greg Gerber, Stephen Adam Doubles Down on Marcus Lemonis, RV Daily Report,

Jan. 20, 2011, at 1.

       38.     Over time, Lemonis acquired a massive stake in Camping World. Likewise, in or

around 2011, the Crestview Defendants made several investments in Camping World, ultimately

securing significant ownership holdings. As of Camping World’s October 2016 IPO, defendant

Lemonis, defendant Adams, and the Crestview Defendants jointly majority owned and controlled

the Company.

       39.     Defendants commenced the IPO to raise money from the public, but they did not

want to give up their control. Through pre-IPO transactions entered into with Camping World

and its subsidiaries, Lemonis, Adams, and the Crestview Defendants entrenched their majority

ownership interests and ability to control the Company after the IPO, even if their exposure to

the economic risks of share ownership substantially declined.

       40.     First, to maintain voting control, defendants instituted a multi-share class structure

with Classes A, B, and C shares. Only Class A shares are publicly traded. Classes B and C shares

provide voting rights, but do not have an economic interest. Through their ownership of Classes

A, B and C shares, Lemonis, Adams, and the Crestview Defendants collectively maintained




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more than 85% of the voting control over the Company, while outside investors, who hold only

Class A shares, remained subject to a majority of the economic risk.

       41.    Second, Lemonis, Adams, and the Crestview Defendants also have the right to

appoint a majority of Camping World’s nine-member board of directors (“Board”). Pursuant to a

voting agreement, the Crestview Defendants have the right to designate up to four directors,

defendants Lemonis and Adams have the right to designate up to four directors through their

indirect ownership of certain entities, and defendant Lemonis has the right to appoint one

director through his ownership of the only Class C share. Under the voting agreement, the

number of directors these parties are entitled to designate depends on their ownership of

Camping World stock. At all relevant times, defendants have had the power to designate at least

seven members of Camping World’s Board, and they have maintained majority voting power to

approve all of the Company’s directors.

The Camping World IPO

       42.    Camping World’s IPO was conducted on October 6, 2016 and raised $261 million

(less underwriter fees and discounts). Lemonis was appointed Chairman and CEO, Wolfe was

appointed CFO, Moody was appointed COO, and Roger Nuttal was appointed President. As

discussed above, the agreements and structure of the IPO allowed Lemonis and the Crestview

Defendants to reap the benefits of taking Camping World public, but maintain the structure and

control of a privately held company. As one expert commented upon reviewing Camping

World’s IPO documents, “[c]learly [Lemonis] wants to retain the benefits of private ownership

but gain access to public markets. It’s a win-win for him but a lose-lose for anybody on the

outside.”

       43.    Moreover, unbeknownst to Camping World’s public investors, the Company

lacked the necessary infrastructure, including internal and disclosure controls, to meet the


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reporting requirements of a publicly-traded company. For example, as defendants would later

admit, Camping World:

       •     had material weaknesses in internal controls, including deficient tax controls,
             inadequate policies and procedures in the FreedomRoads segment, ineffective
             transaction level and management review controls, and insufficient documentation of
             certain accounting policies and procedures; and

       •     had made several accounting errors, including failing to properly defer portions of
             certain revenue, apply vendor rebates against inventory, allocate intercompany
             revenue, and allocate intercompany markup costs.

Camping World’s Acquisition of Gander Stores

       44.       Gander Mountain was a big box retailer that did not sell RVs, but sold hunting

and fishing equipment and related items for outdoor enthusiasts. Before filing for bankruptcy,

Gander Mountain had operated 160 retail stores. Like many retail businesses, Gander was being

hurt by online sales. According to Gander Mountain’s bankruptcy filings, it had “encountered

substantial headwinds as sales ha[d] shifted from traditional brick and mortar retailers to online

sellers.” In March 2017, Gander Mountain filed for Chapter 11 bankruptcy and announced that it

would close and liquidate “underperforming or unprofitable” store locations while continuing to

operate others through bankruptcy.

       45.       Camping World’s leadership saw Gander Mountain as a platform through which

they could cross-sell RVs to outdoor enthusiasts. Despite Camping World’s accounting

deficiencies described above, in May 2017, Camping World announced that it was expanding, as

it had acquired assets of Gander Mountain out of bankruptcy. Camping World, upon acquiring

Gander Mountain assets, announced that it would close all stores and liquidate all inventory.

Camping World announced that it would reopen approximately 70 “historically profitable”

Gander stores.




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       46.     The decision to close all stores and liquidate inventory meant that customers

would be forced to find new suppliers for their outdoor goods and they would have to be won

back upon store re-openings. The longer the delays in re-opening, the more significant the

challenge of winning back the customers. In addition, the decision to liquidate inventory and

rebuy inventory using Camping World’s systems, rather than continuing to operate on Gander

Mountain’s inventory systems with Gander Mountain inventory, meant that Camping World

would face increased inventory restocking, distribution, and personnel hiring challenges.

       47.     Camping World incurred significant expense as a result of problems integrating

the Gander stores into Camping World’s inventory and distribution systems. Integrating

Gander’s high-volume, low-cost products into Camping World’s systems on a rapid timeline

resulted in mass dysfunction, causing Camping World to transport and pay busloads of Gander

employees and contractors to manually input thousands of stock keeping units (“SKUs”) that

tracked product inventory and sales into those systems. This created inventory ordering delays

and inefficiencies at Gander’s distribution center.

       48.     The risks associated with using Camping World systems for Gander inventory

were known or recklessly disregarded by defendants who made such decisions after conducting

due diligence into the Gander Mountain acquisition. Given the stark differences between

Camping World’s existing RV dealerships and Gander Mountain’s large retail stores, any

reasonable due diligence by Camping World would include an investigation of the compatibility

of Camping World’s existing inventory management and distribution systems and the inventory

and distribution necessary to open and run Gander Mountain stores.

       49.     Thus, in conducting due diligence on the Gander Mountain acquisition, and based

on their public statements regarding the strategy to close, liquidate inventory, and then re-open




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stores, defendants knew or recklessly disregarded the risks of increased costs due to the

incompatibility of Camping World’s inventory and distribution systems with Gander’s business

and the need to completely restart inventory and distribution practices. Yet, defendants concealed

not only these risks during the Class Period, but also that they were coming to fruition.

     DEFENDANTS’ FALSE AND MISLEADING CLASS PERIOD STATEMENTS

       50.     Throughout the Class Period, defendants made false and misleading statements

regarding the true state of the Company’s internal controls, historical accounting results, and the

costs and success of the Gander store integration and rollout. Defendants repeatedly assured

investors that the Company’s internal controls were effective, its accounting complied with

generally accepted accounting principles (“GAAP”), Gander stores were being selected based on

historical profitability, and the integration and rollout of Gander stores was a success and would

not have a negative impact on financial performance.

False and Misleading Statements Regarding
Internal Controls and Financial Results

       51.     On October 6, 2016, defendants commenced Camping World’s IPO, utilizing a

prospectus for an initial public offering on Form 424B4, dated October 6, 2016 (and filed with

the SEC on October 11, 2016), which incorporated a registration statement for the offering on

Form S-1, filed with the SEC on October 3, 2016 (collectively, the “IPO Registration

Statement”). The IPO Registration Statement was signed personally or by power of attorney by

defendants Lemonis, Wolfe, and Adams and contained the following false and misleading

statements:

               (a)     The IPO Registration Statement stated: “[o]ur risk management policies

and procedures may not be fully effective in achieving their purposes”;




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                (b)     The IPO Registration Statement stated that “[a]s a public reporting

company, we will be subject to rules and regulations established from time to time by the SEC

regarding our internal control over financial reporting. If we fail to establish and maintain

effective internal control over financial reporting and disclosure controls and procedures, we

may not be able to accurately report our financial results, or report them in a timely manner”;

and

                (c)     The IPO Registration Statement, as discussed supra in ¶43, reported

financial numbers in the offering documents, including reported income and earnings, that were

false and misleading when made due to Camping World’s lack of effective internal controls over

financial reporting.

         52.    On March 8, 2017, Camping World issued a release announcing its results for the

fourth quarter and year ended December 31, 2016, which was filed with the SEC on Form 8-K

(“FY 2016 Release”). The FY 2016 Release contained the following false and misleading

statements:

                (a)     The FY 2016 Release reported: basic earnings per share for the period of

October 6, 2016 to December 31, 2016 of $0.11; diluted earnings per share for the period of

October 6, 2016 to December 31, 2016 of $0.09; fourth quarter 2016 total net income of $13.6

million; and fourth quarter net income attributable to Camping World, and excluding non-

controlling interests, of $2.06 million 2 (collectively, “Overstated EPS and Net Income

Statements”); and



2
        The false and misleading statements are addressed herein topically and in chronological order
within each topic. However, the entirety of false and misleading statements must be considered in totality,
because each of them served to reinforce the false and misleading nature of the others, and caused
Camping World’s stock price to be artificially inflated. Emphasis (bold and italics) has been added to
highlight the particular statements alleged to be false and misleading statements in this section.


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               (b)        The FY 2016 Release stated that the financial results therein “are

presented in accordance with accounting principles generally accepted in the United States

(‘GAAP’).”

       53.     On March 13, 2017, Camping World filed with the SEC its annual report on Form

10-K for the year ended December 31, 2016 (“2016 10-K”). The 2016 10-K was signed

personally or by power of attorney by defendants Lemonis, Wolfe, and Adams and contained the

following false and misleading statements:

               (a)        The 2016 10-K repeated the Overstated EPS and Net Income Statements

set forth in ¶52 above;

               (b)        The 2016 10-K stated that defendants Lemonis and Wolfe had evaluated

the Company’s disclosure controls and procedures and “concluded that [the Company’s]

disclosure controls and procedures were effective at the reasonable assurance level as of

December 31, 2016” (“Disclosure Controls Statement”);

               (c)        The 2016 10-K stated that “[t]here was no change in our internal control

over financial reporting . . . identified in connection with the evaluation of our internal

control performed during the fiscal quarter ended December 31, 2016, that has materially

affected, or is reasonably likely to materially affect, our internal control over financial

reporting” (“Internal Controls Statement”);

               (d)        The 2016 10-K stated that the consolidated financial statements contained

therein were “prepared and presented in accordance with accounting principles generally

accepted in the U.S. (‘GAAP’)” (“Compliance with GAAP Statement”); and

               (e)        The 2016 10-K included signed certifications by defendants Lemonis and

Wolfe attesting that the 2016 10-K did not contain any untrue statements of material fact, or omit




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to state a material fact, and vouching for the accuracy of the Company’s financial reports and

effectiveness of its disclosure controls and internal controls. The certifications stated:




               (f)     In particular, the representations in ¶¶2-3 of the signed Certifications

(regarding the accuracy of the 2016 10-K and the financial results reported therein) and ¶¶4-5 of

the signed Certifications (regarding the design and effectiveness of internal controls and lack of

material weaknesses) of the foregoing certification were false and misleading when made

(“Signed Certification Statements”).

       54.      On May 4, 2017, Camping World filed with the SEC its quarterly report on Form

10-Q for the quarter ended March 31, 2017 (“1Q17 10-Q”). The 1Q17 10-Q was signed by

defendant Wolfe and contained the following false and misleading statements:




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              (a)    The 1Q17 10-Q contained essentially the same Disclosure Controls

Statement and Internal Controls Statement as in ¶53; and

              (b)    The 1Q17 10-Q included Signed Certification Statements by defendants

Lemonis and Wolfe in substantially the same form as in ¶53.

       55.    On May 26, 2017, Camping World filed with the SEC a prospectus on Form

424(b)(4) in connection with the May 2017 Offering, which was part of a registration statement

signed personally or by power of attorney by defendants Lemonis, Wolfe, and Adams. The

prospectus incorporated by reference the 2016 10-K ,which included the same Overstated EPS

and Net Income Statements as in ¶52; the same Disclosure Controls Statement and Internal

Controls Statement as in ¶53; the same Signed Certification Statements by defendants Lemonis

and Wolfe as in ¶53; and the same Compliance with GAAP Statement as in ¶53.

       56.    On August 10, 2017, Camping World filed with the SEC its quarterly report on

Form 10-Q for the quarter ended June 30, 2017 (“2Q17 10-Q”). The 2Q17 10-Q was signed by

defendant Wolfe and contained the following false and misleading statements:

              (a)    The 2Q17 10-Q contained essentially the same Disclosure Controls

Statement and Internal Controls Statement as in ¶53; and

              (b)    The 2Q17 10-Q included Signed Certification Statements by defendants

Lemonis and Wolfe in substantially the same form as in ¶53.

       57.    On October 27, 2017, Camping World filed with the SEC a prospectus on Form

424(b)(4) in connection with the October 2017 Offering, which was part of a registration

statement signed personally or by power of attorney by defendants Lemonis, Wolfe, and Adams.

The prospectus incorporated by reference the 2016 10-K which included the same Overstated

EPS and Net Income Statements as in ¶52; the same Disclosure Controls Statement and




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Internal Controls Statement as in ¶53; the same Signed Certification Statements by defendants

Lemonis and Wolfe as in ¶53; and the same Compliance with GAAP Statement as in ¶53.

        58.    On November 9, 2017, Camping World filed with the SEC its quarterly report on

Form 10-Q for the quarter ended September 30, 2017 ( “3Q17 10-Q”). The 3Q17 10-Q was

signed by defendant Wolfe and contained the following false and misleading statements:

               (a)    The 3Q17 10-Q contained essentially the same Disclosure Controls

Statement and Internal Controls Statement as in ¶53; and

               (b)    The 3Q17 10-Q included Signed Certifications Statements by defendants

Lemonis and Wolfe in substantially the same form as in ¶53.

        59.    The statements set forth in ¶¶51-58 above were materially false and misleading

when made. The true facts, which were then known to or recklessly disregard by defendants,

were:

               (a)    As of October 6, 2016, and continuing thereafter, the Company’s internal

controls and disclosure controls were not effective but in fact suffered from several material

weaknesses, including: (i) deficient tax controls; (ii) inadequate accounting policies and

procedures in the FreedomRoads reporting segment; (iii) ineffective transaction-level and

management review controls over the valuation of trade-in unit inventory; and (iv) insufficient

documentation of certain accounting policies and procedures within the retail segment;

               (b)    As of October 6, 2016, and continuing thereafter, the Company’s internal

controls were not effective and the Company suffered material weaknesses that resulted in

Camping World having failed to properly: (i) defer a portion of roadside assistance policies; (ii)

apply vendor rebates against related inventory balances; (iii) allocate intercompany revenue from




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new and used vehicles to consumer services and plans; and (iv) allocate intercompany markup

costs applicable to new and used vehicles;

              (c)     The Company’s historical financial results reported in the 2016 Form 10-

K had not been prepared and reported in accordance with GAAP; and

              (d)     As a result of the numerous errors, misstatements, and material

weaknesses listed in (a)-(c) above, the Company’s financial statements included in the 2016

Form 10-K could not be relied on and its reported financial results were materially overstated,

including: (i) basic EPS for the period from October 6, 2016 to December 31, 2016 were only

$0.08 per share, rather than the $0.11 represented, an overstatement of more than 37%; (ii)

diluted EPS for the period from October 6, 2016 to December 31, 2016 were only $0.07 per

share, rather than the $0.09 represented, an overstatement of more than 28%; (iii) total net

income for the three months ending December 31, 2016 was only $11.53 million, rather than the

$13.6 million represented, an overstatement of more than 18%; and (iv) net income attributable

to Camping World, and excluding non-controlling interests, for the three months ending

December 31, 2016 was only $1.59 million, rather than the $2.06 million represented, an

overstatement of more than 29%.

False and Misleading Statements Regarding the
Integration of Gander Stores

       60.    On May 1, 2017, Camping World issued a press release announcing that the

Company had been chosen as the winning bidder at a bankruptcy auction for certain assets of

Gander Mountain. Defendants stated their plan was to liquidate the inventory of all stores and

maximize profitability through inventory and store location selection. The May 1, 2017 release

contained the following false and misleading statements:




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              (a)     The May 1, 2017 press release quoted defendant Lemonis as claiming that

the deal allowed Camping World to focus on opening only the profitable stores, stating:

              ‘“The structure of our deal provides much flexibility and will not only
       allow us to refine the inventory selection and select only those stores which are
       profitable or we believe have a clear path to profitability, but will also allow us
       to immediately offer our comprehensive portfolio of services, protection plans,
       products and resources to the existing Gander Mountain and Overton customer
       base and in stores in which we elect to operate.”‘

              (b)     Regarding the inventory liquidation, the May 1, 2017 press release quoted

defendant Lemonis as stating that “‘the liquidation of the existing Gander Mountain inventory

will allow us to start with a clean slate of what we consider the appropriate mix and level of

inventory, including the addition of Camping World . . . offerings where appropriate, and our

lease designation rights will allow us to select only those stores in appropriate locations with

appropriate cost structures.’”

              (c)     The May 1, 2017 press release also quoted defendant Moody discussing

the importance of inventory management and focusing on the stores with an appropriate cost

structure, stating: ‘“Camping World’s plan is to immediately right size the inventory and

operate only in retail locations with occupancy costs that we believe support profitable

operations, with an extreme focus on corporate overhead and expenses, consistent with our

other operating segments.”’

       61.    On May 8, 2017, Camping World issued another press release providing an

update regarding the Gander acquisition. The release disclosed that Camping World would be

opening seventy Gander stores and reinforced that inventory and store location would be used to

maximize profitability. The May 8, 2017 release contained the following false and misleading

statements:

              (a)     The May 8, 2017 release quoted Lemonis as stating that,



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         after reviewing the stores in more detail since our successful bid in the bankruptcy
         process, our current goal is operate seventy or more, locations subject to, among
         other things, our ability to negotiate lease terms with landlords on terms
         acceptable to us and approval of the Bankruptcy Court. The current liquidation
         of the existing Gander Mountain inventory will allow us to start with a clean
         slate of what we consider the appropriate mix and level of inventory, including
         the addition of Camping World and Overton’s offerings where appropriate.

         62.    On June 30, 2017, Camping World issued another press release providing a

further update regarding the Gander stores. The press release stated that the list of Gander stores

to reopen had been reduced to 57 and provided the list of the first 57 store locations. The June

30, 2017 press release quoted defendant Lemonis as stating, ‘“we are not willing to open stores

which we do not believe have a clear path to profitability.”

         63.    On August 10, 2017, several months into the Gander integration process,

Camping World hosted an earnings conference call to discuss the results for the quarter ended

June 30, 2017 (“2Q17”). Defendant Lemonis made the following false and misleading statements

during the call:

                (a)      Defendant Lemonis stated that the Company’s “current plan is to open

the initial 15 to 20 Gander stores by the end of 2017,” and added, “[a]s I’ve consistently stated,

we will only open stores that have a historical level of profitability and also have a clear path

to profitability in the future” 3; and

                (b)      Regarding Gander store inventory, defendant Lemonis stated that

Camping World would focus on higher margin, experiential-based products, rather than low

margin commodity products, stating that “we will not carry the level of apparel and footwear

that we historically have because we believe that, that is not as experiential. It’s more of a

3
         Adding to the context of these statements, which reinforce investors’ understanding that
defendants would only open Gander stores that had been historically profitable and would maintain profit
margins, defendant Lemonis, in describing the Company’s “outdoors” acquisition strategy, stated, “we are
still looking for things that have significant earnings behind them, that have significant principles in terms
of EBITDA margin contribution consistent with our existing business.”


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commodity- based business. And we want to carry the types of products and services that

require human interaction with an expert and/or some level of installation or something you

need just in time. That is our defense mechanism against margin compression competing with

Amazon-type retailers.”

        64.     On November 9, 2017, Camping World hosted an earnings conference call to

discuss the results for the quarter ended September 30, 2017 (“3Q17”). During the call,

defendant Lemonis made the following false and misleading statements:

                (a)       With regard to Gander store openings, defendant Lemonis reassured

investors that stores were being selected to maintain profit margins, that he set conservative

targets, and that defendants had a careful and deliberate plan to focus on stores with clear

profitability, stating:

        We feel – Brent Moody and I have really been at the forefront of negotiating
        those leases. And as we said from day one, we – the Company will not sign up
        for any leases that we believe don’t give us more than a clear path to
        profitability; profitability, quite frankly, on a four-wall basis that’s consistent
        with our EBITDA margin expectation, like we currently operate at.

                One of the things that we’ve done is we’ve elected to shrink the size of the
        boxes that the Company currently – historically had. When they were boxes that
        were 80,000, 90,000, 100,000, we elected to pass on those [stores] because we
        didn’t – after analysis, did not like the turning of the inventory and the margins
        associated with that and the return on capital. And so, a lot of the stores that we
        elected to take have low rent factors but have slightly smaller footprints: 30,000,
        40,000, 50,000, as opposed to 60,000, 70,000, 80,000. We believe that we’re
        going to be able to generate solid sales, but more importantly, solid profitability
        out of those.

                                         *       *      *

               We could have probably opened the stores a little earlier. But for Brent
        and I and the management team, it was about getting the leases right, getting
        the merchandising right, getting the customer experience right. And what we
        want to do is sell experience. And what we won’t do is do what some other
        outdoor retailers have done, which is just sell on price all the time. We believe we
        have to start with service after the sale as our lead, as opposed to selling solely
        and singularly on price. So we’re very excited about next year.


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                I don’t have a specific forecast of where we’ll be in 2018 because the
        stores are going to stagger their opening. We’re going to work to get 15 to 20 – I
        think it’s going to be closer to 15 – in the first-quarter open. We want to open
        them profitability and intelligently, but they are going to layer in over the year.

                One of the things that everybody on this call knows is I do not set any
        expectations that I do not think I can absolutely hit. And it is our expectation
        that in 2019 that business will do somewhere north of $300 million of revenue.
        But more importantly, much more importantly, we think the contribution from
        those 60-some stores would be in the 8% EBITDA margin range. That is our
        focus; it’s maximizing the EBITDA margin on the revenue.

               (b)     In discussing the opening of Gander stores, Lemonis stated: “The growth

of our outdoor categories will initially come from the opening of stores: the ones that we

thought were the most profitable in the markets that could give us the best yield on our

database.”

        65.    The statements set forth in ¶¶60-64 above were materially false and misleading

when made. The true facts, which were then known to or recklessly disregard by defendants,

were:

               (a)     Contrary to Lemonis’ statements that they were focused on maintaining

margins through inventory and store location selection, the Gander store pre-opening costs,

inventory disruptions, and delays were and would continue to cost millions of dollars that would

negatively impact margins;

               (b)     Delays in Gander store openings were expected to negatively impact the

profitability of Gander stores, as it would become more and more difficult to win back customers

who were in the process of finding alternative suppliers due to store opening delays;

               (c)     Contrary to Lemonis’ statements that they were passing on store openings

and delaying store openings to ensure profitability, store openings were delayed due to

integration failures that, for example, required manual entry of thousands of SKUs;




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               (d)     Contrary to Moody’s statements that they would “right size” the inventory

and have an “extreme focus” on expenses, the implementation of a new operating system and the

decision to liquidate all Gander inventory delayed the opening of stores, as the Company needed

to acquire sufficient inventory to stock the stores, and the difficulty of stocking inventory was

compounded by the fact that Camping World utilized its own distribution practices and

technology for inventory management (e.g., SKUs), which were geared toward large, single

items, like RVs and not toward Gander’s high volume, smaller products, all of which was

increasing the costs of opening the Gander stores;

               (e)     The Company did not “only open [Gander] stores that had a historical

level of profitability” or “the most profitable” Gander stores, but rather was planning to rush to

open Gander stores that historically were not among the highly profitable and high-performing

stores prior to Gander’s bankruptcy, and, in some cases, were among the historically worst-

performing stores that had and would continue to negatively impact margins;

               (f)     Contrary to Lemonis’ statement that he did not set expectations that he did

not think he could absolutely hit, Lemonis was concealing the material negative events that

occurred during the integration of Gander inventory into Camping World’s systems due to

inventory, distribution, and technological incompatibility, which required the manual entry of

SKUs, the loss of SKUs during the process of uploading into the inventory system, SKUs

becoming uncoupled from the products they were supposed to identify, an understaffed

distribution center, difficulties in receiving inventory at the distribution center, lost inventory,

and inventory backlogs, resulting in delayed inventory orders, delayed opening of stores, loss of

price concessions, and increased pre- opening store costs; and




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               (g)     As a result of the inventory management failures and defendants’ desire to

avoid further postponement of store openings, and contrary to what they told the market, the

Company selected poorer performing stores and could not focus on stocking stores with higher

profit margin “experiential” inventory, but rather, needed to fill the stores with commodity

products or products (regardless of profitability) based on availability which negatively impacted

margins.

       66.     On January 4, 2018, Camping World issued a press release providing a list of 69

Gander stores it planned to open in 2018. The press release reiterated that defendant “‘Lemonis

previously stated his intention of operating stores with a clear path to profitability.’”

       67.     On February 27, 2018, the Company issued a press release announcing its results

for the fourth quarter and year ended December 31, 2017, which was filed with the SEC on Form

8-K (“FY 2017 Release”). The FY 2017 Release stated that ‘“[w]e began opening our first

Gander Outdoors stores in December 2017 and are pleased with the early trends, including

Good Sam Club conversion rates at these stores.”’

       68.     On the same day, Camping World hosted an earnings conference call to discuss

the results for the full year and quarter ended December 31, 2017. During the call defendant

Lemonis made the following false and misleading statements:

               (a)     Defendant Lemonis stated:

              We opened our first Gander Outdoors store in December and currently
       have 11 stores up and running. Early trends in these stores have been very
       promising and we’re seeing healthy early conversion rates of Gander customers
       to our Good Sam Club and our Good Sam credit card. Our plan is to open nearly
       72 Gander Outdoor stores by mid-June.

              As I’ve said many times, we’re being very calculated and disciplined in
       how we open stores and how we manage this business. We are only interested in
       operating stores that we believe have a clear path to profitability. We’ve
       aggressively negotiated rents, diversified the mix of merchandise, added a service



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       department and layered out – on a number of new benefits and savings to our
       Good Sam Club for the Gander Outdoors and Overton’s customers.

               (b)    Lemonis provided the Company’s financial guidance for 2018, noting the

pre- opening expenses for Gander and confirming they would not negatively impact profit

margins, stating:

               Our initial outlook for 2018 calls for revenue in the $4.8 billion to $5
       billion range and an adjusted EBITDA in the range of $431 million to $441
       million. These estimates include approximately $400 million in revenue for the
       outdoor and active sports business and $30 million in preopening expenses for
       the Gander Outdoors stores.

               We do not anticipate that Gander Outdoors stores will have much impact
       on the company’s adjusted EBITDA in 2018. With the Gander Outdoors stores
       opening in the first half of the year and their peak selling season being the third
       and fourth quarters, we would expect the Gander Outdoors stores to be a drag on
       the adjusted EBITDA in the first half of the year and accretive in the second
       half of the year.

               (c)    In response to a follow-up question about the Gander pre-opening

expenses, Lemonis stated:

               The most important thing for us in this Gander Outdoors opening
       process was to get it right the first time and so many retailers are in such a
       hurry to open stuff that they end up signing up for leases that they shouldn’t,
       taking on products that they shouldn’t, opening at the wrong time, hiring staff
       that they shouldn’t. And what I told the team was that we only have one shot to
       do this. And by getting the supply chain right and picking the right vendors and
       picking the right locations and really rolling this out as a nontraditional retail
       model with a heavy service component and a heavy Good Sam component.

       69.     On March 13, 2018, Camping World belatedly filed with the SEC its annual

report on Form 10-K for the year ended December 31, 2017 (“2017 10-K”). The 2017 10-K was

signed by defendants Lemonis, Wolfe, and Adams and contained the following false and

misleading statements:

               (a)    Regarding the Gander stores distribution center, the 2017 10-K stated:

       We distribute our Gander Outdoors, Overton’s and other Outdoor and Active
       Sports Retail merchandise from three leased and one owned distribution centers in


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       Greenville, South Carolina, Lebanon, Indiana, St. Paul, Minnesota and Skokie,
       Illinois, which are 496,443, 707,952, 200,348 and 6,000 square feet, respectively.

       Our distribution centers have scalable systems and processes that we believe
       can accommodate continued new store growth. We use an Oracle enterprise
       system to procure inventory, manage online customer and retail demand and
       fulfill orders through the warehouse management module. Additionally, we have
       customized an order packing and shipping software package to handle the specific
       requirements of the e-commerce and retail business. We have the capability to
       both case pick and item pick, which is designed to ensure our retail locations
       have sufficient quantities of product while also allowing us to maintain in
       inventory slow moving but necessary items. This balance allows us to stock the
       right products at the necessary locations, all at the right time and in the correct
       quantity.

              (b)     The 2017 10-K stated that the Company “plan[ed] to operate a total of 74

Gander Outdoors stores by May 2018,” and that the Company “expect[s] to incur

approximately $30.0 million in incremental pre-opening expenses in 2018 related to these

store openings.”

       70.    On May 8, 2018, the Company hosted an earnings conference call to discuss the

results of the quarter ended March 31, 2018 (“1Q18”). Defendants made partial disclosures about

the true state of the Gander acquisition and rollout (see ¶¶81-82), but defendant Lemonis made

the following false and misleading statements:

              (a)     Lemonis reiterated the Company’s 2018 EBITDA guidance, which

reflected a lack of any negative impact on margins from the opening of the Gander stores,

stating: “Our [2018] outlook is for revenue in the $4.8 billion to $5 billion range and adjusted

EBITDA in the $431 to $441 million . . . range. These estimates include approximately $400

million of revenue for the outdoor and active sports businesses and $34 million of preopening

expenses for Gander.”; and

              (b)     When asked about the Company’s guidance, Lemonis answered in part:

       The Gander Outdoors process, I intentionally slowed down because I really felt
       that both the customers and the shareholders wanted to see us execute that


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         strategy for the long term. And so they have not gotten opened as quickly as we
         wanted them to. And we have not taken the circus approach to opening them by
         just setting off fireworks and spending a ton of money grand opening them.
         We’ve soft opened them. In some of the markets, they’ve opened up like a blaze
         of glory. In other markets, they’ve been a little slower. But if we believe that there
         is going to be any adjustment to that second quarter, we promise that we will
         communicate that. We’re still feeling very confident about our full year. We just
         don’t know if any of that’s going to shift around a little bit, and we’ll have some
         visibility into it over the next, call it, 2, 3 weeks. But we feel confident with our
         annual number.

         71.    The statements set forth in ¶¶66-70 above were materially false and misleading

when made. The true facts, which were then known to or recklessly disregard by defendants,

were:

                (a)     Defendant Lemonis did not “intentionally” slow down the opening of

Gander stores, but rather delays in opening Gander stores were caused by material negative

events that occurred during the integration of Gander inventory into Camping World’s systems

due to inventory, distribution, and technological incompatibility, which required the manual

entry of SKUs, the loss of SKUs during the process of uploading into the inventory system, and

SKUs becoming uncoupled from the products they were supposed to identify;

                (b)     Camping World distribution centers did not have scalable systems to

“accommodate continued new store growth,” but were understaffed and had difficulties with

receiving inventory, lost inventory, and inventory backlogs, resulting in delayed inventory

orders, delayed opening of stores, loss of price concessions, and increased pre-opening store

costs;

                (c)     Delays in Gander store openings would materially impact the profitability

of Gander stores, as it would become more and more difficult to win back customers who were

in the process of finding alternative suppliers for the products they desired;




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               (d)     The Company was not “calculated” or “disciplined” with the opening

process and did not only open stores with a “a clear path to profitability,” but as a result of delays

from the failed integration and rollout was rushing to open Gander stores that historically were

not among the high-performing stores prior to Gander’s bankruptcy, and, in some cases, were

among the historically worst-performing stores;

               (e)     The decision to liquidate all Gander inventory delayed the opening of

stores, as the Company needed to acquire sufficient inventory to stock the stores and the

difficulty of stocking inventory was compounded by the fact that Camping World utilized its

distribution practices and technology for inventory management (e.g., SKUs), which were geared

toward large, single items, like RVs and not toward Gander’s high volume, smaller products, all

of which was increasing the costs of opening the Gander stores;

               (f)     As a result of the inventory management failures and defendants’ desire to

avoid further postponement of store openings, and contrary to what they told the market, the

Company could not focus on stocking stores with “the right products . . . at the right time and in

the correct quantity” or with the right “mix of merchandise,” but rather needed to fill the stores

with commodity products or products (regardless of profitability) based on availability, which

negatively impacted margins;

               (g)     Despite the overly rosy and optimistic statements regarding Gander

integration and rollout, defendants in truth were rushing to open underperforming Gander stores

to cover up delays from the integration and rollout failures and the substantially higher than

expected pre-opening costs, and were filling stores with less desirable inventory, as described in

subparagraphs (a)-(f) above, each of which negatively impacted the Company’s profit margins;




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               (h)    As a result of the integration and rollout failures, Camping World was not

on track to “operate a total of 74 Gander . . . stores by May 2018” and, in fact, Camping World

operated no more than 42 stores by May 2018; and

               (i)    As a result of subparagraphs (a)-(h) above, defendants had no reasonable

basis to believe and, in fact, did not believe, that Camping World could achieve 2018 adjusted

EBITDA of $431 million to $441 million, pre-opening expenses for Gander stores would only be

$30 or $34 million, or that Gander stores would not adversely impact 2018 adjusted EBIDTA.

               DEFENDANTS’ FAILURE TO DISCLOSE INFORMATION
                REQUIRED UNDER ITEM 303 OF REGULATION S-K

       72.     SEC Regulation S-K required that Camping World’s annual reports on Form 10-

K and quarterly reports on Form 10-Q contain “Management’s Discussion and Analysis of

Financial Condition and Results of Operations” (“MD&A”). According to the SEC, “MD&A is

intended to give investors an opportunity to look at the [Company] through the eyes of

management by providing a historical and prospective analysis of the registrant’s financial

condition and results of operations, with a particular emphasis on the [Company’s] prospects for

the future.”

       73.     Item 303 of SEC Regulation S-K, 17 C.F.R. §229.30 (“Item 303”), specifically

required Camping World’s Form 10-Ks and Form 10-Qs to describe “any known trends or

uncertainties that have had or that [the Company] reasonably expects will have a material

favorable or unfavorable impact on net sales or revenues or income from continuing operations.”

17 C.F.R. §229.303(a)(3)(ii). It also required Camping World’s Form 10-Ks and Form 10-Qs to

disclose events that would “cause a material change in the relationship between costs and

revenues” and “any unusual or infrequent events or transactions or any significant economic

changes that materially affected the amount of reported income from continuing operations and,



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in each case, indicate the extent to which income was so affected.” 17 C.F.R. §229.303(a)(3)(i),

(ii).

        74.    In violation of Item 303, the 3Q17 10-Q, 2017 10-K, and quarterly report on Form

10-Q for the period ended March 31, 2018 (“1Q18 10-Q”) , which was filed with the SEC on

May 8, 2018 and signed by defendant Wolfe, failed to disclose material trends, events and

uncertainties known to management that were reasonably expected to have a material adverse

effect on the Company’s resources and results of operations, including:

               (a)     The Company had decided to rush to open Gander stores that historically

were not among the highly profitable and high-performing stores prior to Gander’s bankruptcy,

and, in some cases, were among the historically worst-performing Gander stores;

               (b)     The Company’s decision to liquidate all Gander inventory delayed the

opening of stores, as the Company needed to acquire sufficient inventory to stock the stores and

the difficulty of stocking inventory was compounded by the fact that Camping World utilized its

existing distribution practices and technology for inventory management (e.g., SKUs), which

were geared toward large, single items, like RVs and not toward Gander’s high volume, smaller

products, all of which was increasing the costs of opening the Gander stores;

               (c)     Camping World was facing material negative events that occurred during

the integration of Gander inventory into Camping World’s systems due to inventory, distribution,

and technological incompatibility, which required the manual entry of SKUs, the loss of SKUs

during the process of uploading into the inventory system, SKUs becoming uncoupled from the

products they were supposed to identify, an understaffed distribution center, difficulties in

receiving inventory at the distribution center, lost inventory, and inventory backlogs, resulting in




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delayed inventory orders, delayed opening of stores, loss of price concessions, and increased pre-

opening store costs;

               (d)     As a result of the integration and rollout failures, and defendants’ desire to

avoid further postponement of store openings, the Company was filling Gander stores with less

desirable inventory such as commodity products or out-of-season products (regardless of

profitability) based on availability, which negatively impacted margins; and

               (e)     The events described in subparagraphs (a)-(d) above, each negatively

impacted the Company’s profit margins and results of operations.

                                    SUBSEQUENT EVENTS

       75.     Starting in late February 2018, the truth about Camping World’s material

weaknesses in internal controls and the Company’s serious integration and rollout failures with

the Gander stores began to leak out over the course of a series of disclosures, causing massive

declines in the price of Camping World Class A common stock.

Defendants Admit Material Weaknesses in
Internal Controls and Misstated Earnings

       76.     On February 27, 2018, Camping World admitted it had identified material

weaknesses in its internal controls and needed to restate its prior financials. On that day,

Camping World issued the FY 2017 Release, announcing its financial results for the fourth

quarter and full year 2017. The FY 2017 Release disclosed that the Company would need to

revise prior reporting periods due to various accounting errors, including: (i) the lack of deferral

of a portion of roadside assistance policies sold with the sale of vehicles; (ii) the application of a

portion of certain vendor rebates against the related inventory balances; (iii) the elimination of

the intercompany allocation of certain revenue from new and used vehicles to consumer services




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and plans; and (iv) the allocation of the intercompany markup between costs applicable to new

and used vehicles.

       77.     The FY 2017 Release disclosed that the cumulative impact of these misstatements

required the Company to (i) restate and reduce its 2016 basic EPS from $0.11 per share to $0.08

per share, as the prior reported basic EPS had been overstated by more than 37%; (ii) restate and

reduce its 2016 diluted EPS from $0.09 per share to $0.07 per share, as the prior reported diluted

EPS had been overstated by more than 28%; (iii) restate and reduce its fourth quarter 2016 total

net income from $13.6 million to $11.53 million, as the prior reported net income had been

overstated by more than 18%; and (iv) restate and reduce its fourth quarter 2016 net income

attributable to Camping World, excluding non-controlling interests, from $2.06 million to $1.59

million, as the prior reported net income attributable to Camping World, excluding non-

controlling interests, had been overstated by more than 29%. The FY 2017 Release further

disclosed that the Company was continuing to assess the “potential impact of the recently

identified material weaknesses in [Camping World’s] internal control over financial reporting.”

       78.     Pursuant to 17 C.F.R. §249.310(a), Camping World was required to file the 2017

10- K on March 1, 2018, but Camping World failed to file by the close of trading on March 1,

2018. After the market closed, Camping World filed a Notification of Late Filing on Form 12b-

25 with the SEC, stating that Camping World would be unable to timely file the 2017 10-K due

to “material weaknesses in its internal control over financial reporting relating to the insufficient

documentation of certain accounting policies and procedures within the Company’s retail

segment, and ineffective transactional level and management review controls over the valuation

of used trade-in inventory,” which “required the Company to perform additional procedures and




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analyses in connection with the Company’s annual financial statement close process and

preparation of the Form 10-K.”

       79.     On this news of Camping World’s material weaknesses in its internal controls,

overstated financial results, and accounting errors, the price of Camping World stock declined

substantially. The magnitude and impact of the material weaknesses in internal controls appeared

to be leaked into the market over several days as reflected in unusual trading volume and price

declines in the absence of other Company-specific disclosures. In total, from the close of trading

on February 26, 2018 through the close of trading on March 5, 2018, the price of Camping

World Class A common stock dropped $5.80 per share, or approximately 13.5%, on abnormally

high trading volume.

       80.     Thereafter, on March 13, 2018, Camping World belatedly filed its 2017 10-K. In

the 2017 10-K, Camping World confirmed that its “previously issued consolidated financial

statements as of and for the year ended December 31 2016, and as of and for the three months

ended March 31, 2017, three and six months ended June 30, 2017 and three and nine months

ended September 30, 2017 . . . should no longer be relied upon.” Camping World confirmed in a

Form 8-K that its disclosure controls and procedures were not effective as of December 31,

2016, March 31, 2017, June 30, 2017, September 30, 2017 and December 31, 2017, and that its

internal controls over financial reporting were not effective as of December 31, 2017.

Defendants Admit the Failures in the Gander
Integration and Rollout

       81.     Between the March disclosures set forth above and May 8, 2018, Camping

World’s stock price dropped from approximately $37 to $27 per share. On May 8, 2018,

Camping World reported disappointing financial results for 1Q18. During the quarter, Camping

World’s adjusted EBITDA margin had decreased from 8.2% in the first quarter of 2017 to 6.8%



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for the first quarter of 2018. During the conference call to discuss the quarterly results, defendant

Wolfe stated that “adjusted EBITDA for the outdoor stores for the first quarter was about $8.9

million loss.” Lemonis admitted to opening fewer stores and began to admit the integration

problems that caused the delayed Gander store openings and increased costs, stating:

               We’ve opened up 42 new Gander locations, which admittedly have
       opened a little later than I anticipated. Given the number of stores we’re opening
       in a relatively short period of time and the fact that we are completely rebuilding
       the business, the inventory and the staff from scratch, there are challenges on
       several fronts, including our IT infrastructure, inventory management and
       distribution systems.

       82.     Later in the call, in response to analyst questions, defendant Lemonis was more

blunt in his assessment, revealing that the behind-the-scenes integration of Gander stores was a

“giant sh** show,” and revealing the massive inventory, distribution, and technological issues

being confronted, and increased labor costs in manually addressing the issues, stating:

       [W]hen I visited the distribution center in Lebanon, I probably have never
       experienced anything like it. When you take 600,000 square feet of an empty
       distribution center and you try to add hundreds of thousands of new SKUs and
       hundreds – and thousands of new vendors and you literally move all that product
       in on a brand-new operating system that you’ve never used before and then you
       have to move all that product out, it was kind of a giant shit show. And we had –
       luckily, we had store staff from around the country get on school buses in
       Greyhounds and drive to the distribution center and stay in hotels and RVs and
       work 14, 15 hours trying to get the product out for their store. I mean, what an
       unbelievable team effort. But nobody wants to hear that. What they want to know
       is that it was a perfect process. And it wasn’t.

       83.     On this news, the price of Camping World Class A stock fell $4.60 per share, or

17%, on abnormally high trading volume to close at $23.02 per share on May 8, 2018.

       84.     In addition, several analysts slashed their price targets. For example, in a May 8,

2018 report, analysts from BMO Capital Markets cut their price target by around 30%, citing the

disclosures from “a very poorly executed earnings conference call” that could “have a

detrimental effect on investors’ view of the company and leadership team.” The analysts noted



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that “the delays and higher-than expected costs of getting Gander up and running is becoming

harder for investors to overlook,” and noted that Gander stores “contributed an $8.9 million

adjusted EBITDA loss in the quarter.”

       85.     On August 7, 2018, Camping World reported more disappointing financial results

for the second quarter of 2018 (“2Q18”) and lowered financial guidance for the remainder of

2018. The Company revealed that it had achieved adjusted EBITDA of only $140.2 million for

the quarter, 9% below its low-end guidance of $154 million, and that its adjusted EBITDA

margin had again declined on a year-over-year basis from 11.1% in 2Q17 to 9.7% in 2Q18.

       86.     Moreover, on a conference call to discuss the 2Q18 results, defendant Lemonis

revealed that Camping World was only on track to achieve 2018 adjusted EBITDA of $370

million to $380 million, a decline of 14% from prior guidance of $431 to $441 million. Lemonis

and the Company revealed that the cause of the adjusted EBITDA miss and guidance reduction

were related to the increased Gander costs, which were negatively impacting margins.

       87.     More specifically, Camping World disclosed “$15.4 million of preopening

expenses related to [the] Gander Outdoors” store opening, which, combined with the 1Q18 pre-

opening costs of $19.7 million, revealed that in just the first six months of 2018, the Company

had already exceeded its full year pre-opening costs guidance of $30 million. An analyst

commented to Lemonis that “it looks like Gander will be on the order of a $60 million EBITDA

loss this year,” to which Lemonis admitted, “Yes, sir.”

       88.     On this news, the price of Camping World Class A stock fell $3.17 per share, or

14%, on abnormally high trading volume to close at $19.04 per share on August 8, 2018, and

several analysts again slashed their price targets. For example, analysts from Wells Fargo




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Securities cut their Camping World price target and noted that “investors are incrementally

concerned over accelerated up-front 2018 Gander costs.”

       89.     In total, from February 26, 2018 – when Camping World Class A common stock

closed at $43.03 per share to August 8, 2018 – when Camping World Class A common stock

closed at $19.04 per share, Camping World Class A common stock declined by $23.99 per share,

or 56%. The price of Camping World Class A common stock has continued to decline to less

than $15 per share.

               FORMER EMPLOYEE ACCOUNTS REGARDING GANDER

       90.     Several former Camping World employees, who worked for Gander after

Camping World purchased the stores out of bankruptcy, provided information that gives further

context for the allegations herein.

Selecting Poor Performing Gander Stores for Reopening

       91.     Gander former employee 1 (“FE1”) was a manager in the merchandising

department who worked at Gander before and after the acquisition by Camping World. FE1

worked in Gander’s corporate office and was responsible for merchandise planning.

       92.     According to FE1, in or around May 2017, after the Gander acquisition was

publicly announced, he/she participated in conference calls with Lemonis and Gander’s

Marketing Director to discuss which Gander stores would be re-opened. FE1 said that Lemonis

named a number of stores for which he was negotiating leases. Among the stores Lemonis

named were those located in Paducah, Kentucky, and Florence, Alabama. FE1 was informed by

Gander’s VP of Operations that the VP of Operations had told Lemonis that these stores and

other stores he listed were poor-performing Gander Mountain stores and that they should not be




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re-opened. 4 However, Lemonis chose to re-open both stores and both Gander stores have since

been closed. The Paducah, Kentucky store was opened in February 2018 and closed in December

2018, and the Florence, Alabama store was opened in May 2018 and then quickly closed in

September 2018, just months after it re-opened.

          93.   Gander former employee 2 (“FE2”) was a Senior Inventory Manager who worked

for Gander from June 2017 to June 2018 overseeing inventory for all of the Gander brick-and-

mortar stores and had previously worked at Gander Mountain for nearly a year before its

bankruptcy. According to FE2, in June and July 2017 management for Gander held budgeting

meetings to discuss the re-opening of the Gander stores. These meetings were attended by the VP

of Merchandising, the VP of Operations, the VP of Inventory and Logistics (hereafter the

“VPs”), defendant Wolfe, and the President of Camping World, Roger Nuttall. During these

budgeting meetings, the attendees discussed and were made aware that the closure of all the

Gander Mountain stores made it difficult to recapture Gander customers who would shop

elsewhere during the store closures and that the liquidation of all of Gander Mountain’s

inventory made stocking the new Gander stores with entirely new inventory time consuming and

costly.

          94.   According to FE2, in June 2017 he/she received a list of Gander stores Lemonis

planned to open that was circulated internally and used to complete budget and revenue

forecasting. This initial list of 70 Gander stores contained locations that had historically

performed poorly as Gander Mountain stores.




4
         On June 30, 2017, Camping World issued a release listing stores it was planning on opening,
which included the Paducah, Kentucky store, and, on January 4, 2018, Camping World issued another
release listing stores it was planning on opening, which included the Florence, Alabama store.


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         95.   Beginning in July 2017, FE2 would receive emails updating the list of Gander

stores Lemonis planned to open and the order in which Lemonis planned to open those stores. In

early July 2017, FE2 and others raised concerns to the VP of Merchandizing when he/she saw

high-performing stores taken off the list and low-performing stores being added. For example, in

July 2017, when one of Gander Mountain’s highest-performing stores, the Palm Beach store, was

taken off the list of stores Lemonis planned to open, FE2 told the VP of Merchandising that the

Palm Beach store was one of Gander Mountain’s highest-performing stores and expressed worry

that Gander was no longer planning to open this store. The VP of Merchandising told FE2 that

Lemonis said the reason Gander was not opening the store in Palm Beach, Florida was because

the city of Palm Beach would not allow Gander to sell RVs. 5 Gander ultimately did not re-open

the Palm Beach store.

         96.   According to FE2, from July 2017 to November 2017, he/she continued to raise

concerns to the VPs about re-opening some of the lowest-performing Gander Mountain stores.

When FE2 raised concerns to the VPs about opening certain low-performing stores he/she was

told that Lemonis said it was “all about the leases.”

         97.   FE2’s account regarding Camping World reopening underperforming and less

profitable stores is similar to the fact that Camping World opened certain of the stores Gander

Mountain itself had identified as “underperforming or unprofitable” in connection with the

bankruptcy proceedings. 6



5
       Lemonis’ statement to the VP of Merchandising is corroborated by a May 12, 2017 tweet from
Lemonis where, in response to a question about the “palm beach gardens” Gander location re-opening,
Lemonis tweeted, “[t]he city said go away. No rvs will be sold here.”
6
       For example, a Gander Mountain bankruptcy filing identified stores in Augusta, Georgia,
Greenfield, Indiana, and Eau Claire, Wisconsin as “underperforming or unprofitable.” See In re: Gander
Mountain Company, Case No. 17-30673 (Bankr. D. Minn. March 10, 2017) at ECF No. 32. These stores
were opened as Gander stores.


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Technology Incompatibility and Inventory
Disruptions 7

         98.    According to FE2, in August 2017, employees for Gander began the process of

entering the inventory of the high-volume retail Gander stores into the Camping World inventory

system. In order to integrate the Gander products with the Camping World inventory system,

Gander employees needed to enter into the system approximately 100,000 SKUs, the unique

identifiers or codes for each product that captures its description, material, size, color, packaging,

and warranty terms. According to FE2, SKUs are used by Gander to track inventory, order

products, and invoice vendors.

         99.    FE2 reported that inventory directors targeted early September 2017 for entering

the majority of the SKUs needed to order and track inventory for the Gander stores into the

Camping World inventory system. According to FE2, the majority of the SKUs had to be entered

before buyers could purchase inventory and inventory could be shipped to the distribution center

and delivered to the Gander stores for their re-opening.

         100.   Gander former employee 3 (“FE3”) was a Director for Gander from July 2017 to

October 2018. FE3 developed merchandising and inventory strategy and supervised the

purchasing of inventory for the new Gander stores. FE3 reported to Gander’s VP of

Merchandising. According to FE3, in August 2017, he/she and others at Gander who were

dealing with inventory and merchandising were trained on using the Camping World inventory

system. FE3 said that he/she and others at Gander who were using the Camping World inventory

system realized that the inventory system was not adequate for Gander’s high-volume retail

needs. Specifically, the Camping World inventory system required SKUs to be entered manually

7
          On May 8, 2018, Lemonis discussed the disruption from buying new Gander inventory and
integrating it into a new technology platform, referring to having “thousands of new vendors and you
literally move all that product in on a brand-new operating system that you’ve never used before and then
you have to move all that product out, it was kind of a giant sh** show.”


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and did not have the capacity to input a high number of SKUs at once. In August 2017, FE3 told

the VPs about the inadequacy of the Camping World inventory system informally as well as at

weekly status meetings.

       101.    According to FE2, during August and September 2017, Gander encountered

additional problems with the Camping World inventory system and with entering the Gander

SKUs into that system. FE2 said that Gander employees would manually enter SKUs into the

system during the day and the SKUs were uploaded into the system overnight. However, as FE2

and others monitored the overnight progress of the SKU uploads into the inventory system, they

saw that the inventory system often rejected some or all of the SKUs that were entered. In

addition, SKUs in the Camping World inventory system would become uncoupled from the

products they were supposed to identify so that an SKU that was supposed to be identified with

one product would instead be in the inventory system as an entirely different product.

       102.    FE3 also confirmed that SKU data would be rejected or contain errors when it

was uploaded into the Camping World inventory system.

       103.    In August and September 2017, FE2 communicated to the VPs at weekly

meetings the issues Gander was having uploading the SKUs into the inventory system. During

those weekly meetings, FE3 also communicated to the VPs the problems Gander was

experiencing with the inventory system. According to FE3, other Directors voiced the same

concerns during these meetings.

       104.    According to FE2, in August 2017, he/she and another Director advised the VPs

that Gander should use the inventory system previously utilized by Gander Mountain or replace

the Camping World inventory system with a system that could handle Gander’s retail inventory.

Camping World did not heed this request.




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       105.    According to FE2, as a result of the problems entering the SKUs into the

Camping World inventory system, there would be days in August and September 2017 when no

SKUs could be loaded into the system. FE2 stated that, because of the delays caused by the

problems with the inventory system, Gander missed the deadline for entering the SKUs into the

system. FE2 said that, because the SKUs were not set up in the inventory system, Gander had to

push back the ordering of inventory for the new Gander stores. FE2 initially planned to begin

ordering inventory in early September 2017 so that inventory for the new stores could be shipped

to the distribution center by late September 2017. Instead, according to FE2, Gander was not able

to begin ordering inventory until October 2017 and inventory did not begin arriving at the

distribution center until at least late- October. At weekly meetings in September and October

2017, FE2 discussed with the VPs the delays in ordering inventory for the Gander stores and in

the inventory being received at the distribution center.

       106.    In addition, FE2 recalls that in August 2017 he/she discussed inventory

purchasing for the Gander stores with the VPs at weekly meetings. Specifically, FE2 informed

the VPs that Gander was purchasing inventory that, based on past sales data from Gander

Mountain, had not previously sold. FE2 informed Gander’s VP of Merchandising that a number

of products were not selling and cautioned him on overstocking the Gander stores with

inventory.

       107.    According to FE2, in November 2017 he/she told Gander’s VP of Merchandising

that overstocking inventory and purchasing inventory that had not previously sold could lead to

items being placed on clearance, reducing the profit margins on those items and eating into the

sales of newly stocked merchandise. However, as FE2 recalls, Gander’s VP of Merchandising




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and VP of Operations told FE2 to ship more inventory to the Ganders stores, and that Lemonis

wanted the stores full.

Problems at the Gander Distribution Center

       108.    In August 2017, according to FE2, Gander planned to ship $10-$12 million of

inventory a week to the distribution center beginning in the first week of October 2017. Gander

intended to begin receiving inventory in the first week of October so that merchandise could be

shipped to the new stores in time for their re-opening. Gander staffed the distribution center

accordingly. FE2 said that the VPs discussed the plan to ship inventory and the staffing of the

distribution center at weekly meetings he/she attended.

       109.    However, as FE2 stated, the delay in ordering merchandise – due to the problems

entering SKUs into the inventory system and the delay in purchasing inventory – caused Gander

to order only approximately $1-$2 million per week in inventory by October 2017 and the

distribution center did not begin receiving this inventory until mid-October 2017. As a result,

labor at the distribution center was cut back.

       110.    According to FE2, when purchasing for the stores began in full, in late

October/early November 2017, Gander was forced to order additional inventory in order to make

up time. In November 2017, the distribution center was receiving $5-$10 million in inventory per

week and this increased to $15-$20 million in inventory per week by December 2017. FE2, the

VPs, management at the distribution center, and the inventory Directors, discussed at meetings

throughout September to December 2017 the delays in ordering and shipping inventory to the

distribution center and the fact that the distribution center was understaffed and ill equipped to

handle the inventory shipments it was receiving.

       111.    According to FE2, the distribution center did not have an inventory system that

was able sufficiently to receive and process inventory beginning with the first deliveries in


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October 2017. Problems with the SKUs in the Camping World inventory system created a

situation where inventory arrived but the SKUs for the inventory could not be found in the

system or the SKUs did not match the inventory being received. As a result, says FE2, many of

the first shipments of inventory that arrived to the distribution center in October 2017 were not

being received in the inventory system and pallets of inventory were being piled in a staging area

for troubled orders while the problems with the orders were fixed, which could take weeks. FE2

relayed to the VPs the distribution center’s problems with receiving inventory and the backlog it

caused as the problems were occurring, multiple times a week, in October and November 2017.

       112.    FE1 similarly reported that there were problems at the distribution center.

According to FE1, there were not enough employees working at the distribution center to process

the orders in time. FE1 also said that items were not properly set up in the Camping World

inventory system.

       113.    According to FE2, in October 2017, the problems at the distribution center caused

problems with vendors as well. Because inventory was not being properly received in the

inventory system when it was delivered to the distribution center, those at Gander responsible for

paying vendors were not aware that the shipments were being delivered and vendors were not

being paid for those shipments. In turn, vendors were refusing to ship additional inventory until

the open purchase orders were paid. According to FE2, inventory managers were forced to call

the distribution center and have them hunt down orders and enter them into the system as

received so that vendors could be paid and new order shipped. According to FE2, this not only

caused delays in the distribution center but it caused Gander to miss discounted payment terms,

forcing Gander to pay full price on inventory shipments. FE2 discussed the issues with vendors

caused by the distribution center with the VPs weekly at meetings and in informal discussions.




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        114.    According to FE3, in November 2017, he/she also experienced problems with the

distribution center. The Camping World inventory system could not locate where inventory was

located in the distribution center and could not forecast what inventory needed to be shipped to

which stores without staff manually searching for the inventory in the system and inputting the

information. FE3 also said that the Wi-Fi at the distribution center was so poor that the signal did

not cover the entire facility and staff could not fill orders if they were outside the signal area.

FE3 communicated these issues to the VPs at weekly meetings held with other Directors and

through email communications.

        115.    According to FE2, in November 2017, the distribution center was so backed up

with deliveries there were trucks waiting at the distribution center to deliver merchandise. At one

point, approximately 100 pallets were backlogged at the distribution center and had not been

entered into the inventory system as received. In December 2017, before the Lakeville,

Minnesota store opened, FE2 discussed the backlog of inventory at the distribution center with

the VPs and Gander Regional Directors. According to FE2, at these meetings the VPs were told

that inventory shipments were sitting for weeks and were given a daily count of backlogged

pallets. FE2 said that the backlog of pallets had reached approximately 1,000 pallets by February

2018.

Delays in Gander Store Openings

        116.    According to FE3, because of the issues with the inventory system and the

distribution center, Gander stores were not being shipped inventory timely and store openings

were delayed.

        117.    According to FE3, early in October 2017, Lemonis visited Gander headquarters in

Bloomington, Minnesota. Lemonis was told that there were problems with getting product to the




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stores in time for opening. FE3 and others communicated to Lemonis that they needed more time

and the opening of the Lakeville, Minnesota store was pushed back.

         118.     FE2 was also present when Lemonis visited Gander headquarters in early October

2017 and addressed Gander employees. According to FE2, Gander Merchandising Directors

asked Lemonis for more time to finalize inventory planning and were given an additional month

by Lemonis. According to FE2, this caused delays in purchasing inventory and in opening the

Lakeville, Minnesota store.

         119.     FE2 also said that during Lemonis’ visit to Gander headquarters in October 2017,

a director asked Lemonis about inventory spending and Lemonis told the employee not to worry

about inventory spending but instead to fill the stores and make the stores look good.

         120.     According to FE3, the Gander store in Lakeville, Minnesota, was scheduled to

open around Thanksgiving but was delayed until December 2017. Gander employees were told

by Gander’s VP of Operations that they needed to do whatever it took to open the Lakeville,

Minnesota store. Employees from Gander headquarters staffed the Lakeville store in early

December 2017 in order to set the store up in time for its December 13, 2017 opening. 8

According to FE3, Gander’s VP of Operations told him/her that “Marcus [Lemonis] says we just

have to do it.”

         121.     FE1 recalls that around Thanksgiving 2017, Camping World employees were

flown in from different parts of the country to work at the distribution center to try and get the

inventory shipped out for the opening of the Lakeville, Minnesota store.




8
        The Gander store in Lakeville, Minnesota, was the first Gander store to re-open after Camping
World purchased Gander Mountain from bankruptcy. First Gander Outdoors to Open in Minnesota (Dec.
12, 2017), https://sgbonline.com/first-gander-outdoors-to-open-in-minnesota/.


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         122.   According to FE2, in November 2017, the manager of the distribution center

discussed the need for more staffing at the distribution center with the VPs and Gander inventory

directors during weekly meetings. FE2 said that he/she and others from Gander headquarters, as

well as Gander employees at stores local to the distribution center’s Lebanon, Indiana location,

worked at the distribution center in order to facilitate the opening of the Lakeville store in

December 2017.

         123.   According to FE2, when the Lakeville Gander store opened in December 2017,

Gander used the inventory they had on hand at the distribution center to fill empty space so the

store appeared full because they were not able to order, ship, and distribute the inventory

merchandise that the store had planned to carry. FE2 said that the store was filled with

duplicative products, products that were out of season, and whatever other inventory was

available in the distribution center, including clearance Camping World merchandise. According

to FE2, the VPs were aware of and approved this use of inventory to fill the store. In December

2017, prior to the Lakeville store opening, Gander VP of Merchandising told FE2 that the

Lakeville store did not look full and instructed FE2 to ship more inventory to fill the store

regardless of the inventory assortment plan for the store. For instance, FE2 recalled that Gander

ordered an additional round of apparel, extra tackle boxes, additional shooting targets, additional

camping tents, additional sleeping bags, and one extra pair of shoes of every size. 9 These

inventory items were chosen in part because they were large items which could fill space in the




9
         The inventory described stands in stark contrast to Lemonis’ statement on August 10, 2017 that
“we will not carry the level of apparel and footwear that we historically have because we believe that,
that is not as experiential. It’s more of a commodity-based business. And we want to carry the types of
products and services that require human interaction with an expert and/or some level of installation
or something you need just in time. That is our defense mechanism against margin compression
competing with Amazon- type retailers.” Also set forth in ¶63.


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store. According to FE2, the inventory budget for the Lakeville store was approximately $2.8

million but the store opened in December 2017 with approximately$3.8 million of inventory.

       124.    According to FE3, in December 2017 he/she also worked on the rollout of the

Lakeville, Minnesota store and stated that the Lakeville store was rushed and not ready to open

when it did. FE3 recalled that the store suffered from IT issues, including that the point-of-sale

system was not recognizing merchandise or pricing.

       125.    According to FE1 and FE2, Lemonis was present at the opening of the Lakeville,

Minnesota store on December 13, 2017. 10

       126.    FE1 stated that Lemonis arrived at the store on the afternoon of the opening and

in a brief meeting at the front of the store with all store employees and members of the corporate

office acknowledged that there were issues with the store but, according to FE1, said “let’s just

get the store open.” According to FE1, Lemonis stayed in the Lakeville store for approximately

2-3 hours and saw the point-of-sale issues. FE1 stated that the issues with the point-of-sale

system and pricing that Gander experienced at the Lakeville, Minnesota store continued through

the opening of the next 10 to 12 Gander stores.

       127.    According to FE3, beginning in December 2017 with the Lakeville store,

Gander’s newly opened stores were selling approximately 40% of forecasted sales. FE3 said that

the Gander store sales figures were shared at weekly meetings he/she attended with all of the

Gander Directors and the VPs. According to FE3, as additional Gander stores opened in 2018,

the sales figures remained consistently below forecast.

       128.    According to FE2, other stores that Gander and Lemonis had originally planned to

open in 2017 also had their opening dates pushed back into 2018.


10
        On December 13, 2017, Lemonis posted videos on his Twitter account (@marcuslemonis) of him
at the Lakeville opening.


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       129.    FE1 explained that in the first part of 2018 the issues at the distribution center

caused delays in many of the store openings. According to FE1, he/she, together with Gander’s

VP of Merchandising, Gander’s VP of Operations, and other Gander managers, had facetime

calls with Gander stores that were preparing to open. On those calls, the store managers walked

aisle by aisle showing the lack of products on the shelves. FE1 stated that some of the stores with

empty shelves were set to open in just days.

       130.    FE3 also reported that Gander stores continued to be delayed during January 2018

and through the Spring of 2018. According to FE3, in February 2018 he/she did store walk-

throughs for stores that were planning to open and found that these stores also lacked inventory.

As a result, Gander had to push back the openings for these stores and FE3 had inventory

shipped directly to the stores. According to FE3, he/she had to obtain the approval of Gander’s

VP of Merchandising to perform the direct shipping.

                        ADDITIONAL SCIENTER ALLEGATIONS

Defendants Controlled the Company and Its
Public Messaging

       131.    Lemonis and Adams structured Camping World and the IPO to entrench their

control over the Company’s leadership, business, and operations, including its public statements.

Lemonis and Adams had control over directors through their powers to designate directors and

over executives, whom they had the power to appoint and terminate. The consolidated power

structure of Camping World provided Lemonis and Adams with significant control over the

Company’s strategies, decisions, acquisitions, and messaging to the investing public.

       132.    Moreover, in their respective roles as CEO, CFO, COO, and Director, Lemonis,

Wolfe, Moody, and Adams were able to, and did, determine the content of the various SEC

filings, press releases, and other public statements pertaining to the Company during the Class



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Period. Lemonis, Wolfe, and Adams signed the IPO Registration Statement, 2016 10-K, and

2017 10-K. Lemonis, Wolfe, and Moody attended conference calls and spoke on behalf of the

Company throughout the Class Period. Lemonis and Moody were quoted in Class Period releases

alleged herein to be false and misleading and Wolfe signed the Form 8-Ks that were submitted to

file those releases with the SEC.

       133.    Lemonis, Wolfe, Moody, and Adams participated in the drafting, preparation,

and/or approval of such public statements and were provided with copies of the documents

alleged herein to be false and misleading prior to or shortly after their issuance and had the

ability and/or opportunity to prevent their issuance or cause them to be corrected. Accordingly,

the Individual Defendants were responsible for ensuring the accuracy of the public reports and

releases detailed herein and for verifying that the facts supported the statements and there were

no material omissions, and they are therefore liable for the misrepresentations and omissions

therein.

       134.    During and prior to the Class Period, as senior executive officers and directors of

Camping World, Lemonis, Wolfe, Moody, and Adams, were privy to confidential and

proprietary information concerning Camping World and its operations, finances, financial

condition, internal controls and present and future business prospects, including the integration,

rollout, and financial performance of Gander stores. Each of them also had access to internal

corporate documents, conversations, and connections with corporate officers and employees,

attendance at management and Board meetings and committees thereof, as well as reports and

other information provided to them in connection therewith. Because of their possession of such

information, each of them knew or recklessly disregarded that the adverse facts specified herein

had not been disclosed to, and were being concealed from, the investing public.




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Insiders Sold Camping World Stock at Inflated
Prices

        135.    Defendants had a massive informational advantage and were uniquely situated,

due to their private ownership of the Company prior to taking it public, to gain enormous

financial rewards by going public and portraying the Company in a positive light during the

periods following the IPO. Camping World had been a private company for decades prior to

2016. Defendants held significant stakes in Camping World but, because it was private, those

stakes were largely illiquid, and the IPO created an opportunity for liquidity. By listing Camping

World Class A shares on a public exchange (the NYSE) but retaining voting control through

Class B and Class C shares, defendants were able to control the Company while creating the

opportunity to convert their ownership of Camping World into shares of Camping World Class A

common stock, which could then be sold on the open market.

        136.    In October 2016, Camping World issued the false and misleading IPO

Registration statement, and on March 13, 2017, Camping World issued its false and misleading

2016 10-K. Defendants repeated substantially the same false and misleading statements in May

and October 2017, concealing the Company’s material weaknesses in internal controls and

accounting errors. On May 1, 2017, Camping World announced the acquisition of Gander stores

out of bankruptcy, and on May 8, 2017, Camping World announced that, “after reviewing the

[Gander] stores in more detail since [Camping World’s] success[ful] bid in the bankruptcy

process, [Camping World’s] current goal is to operate seventy or more, locations” that “have a

clear path to profitability.”

        137.    Thereafter, as discussed above, defendants continued to make false and

misleading statements regarding the integration and rollout of Gander stores. See ¶¶60-71.




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       138.    Based on the overly rosy statements, Camping World’s stock price increased to

$40 per share by October 10, 2017. Soon thereafter, on October 31 and November 1, 2017,

defendant Lemonis, through an entity controlled by him and Adams, sold over 800,000 shares of

Camping World Class A stock at $40.50 per share for more than $32.4 million in gross insider

sale proceeds. Then, on March 15, 2018 – just two weeks before the close of Camping World’s

disappointing 1Q18 defendant Lemonis sold an additional 130,000 shares of Camping World

Class A stock at $35.51 per share for more than $4.6 million in additional gross proceeds.

       139.    In addition, defendant Wolfe, Camping World’s CFO, sold over $9 million worth

of Camping World Class A shares from April 26, 2017 to September 27, 2017 at prices as high

as $40.34 per share. Defendant Moody, Camping World’s COO, sold over $16.8 million worth

of Camping World Class A shares from April 26, 2017 to December 28, 2017 at prices as high as

$46.17 per share.

       140.    Non-defendant executives who were closely involved in the disclosures set forth

herein also sold a significant amount of stock. Namely, the President of Camping World, Roger

Nuttall, sold over $13.8 million worth of Camping World Class A shares from June 26, 2017 to

December 27, 2017 at prices as high as $45.92 per share. 11 Defendants also commenced two

secondary public offerings, which, rather than focus primarily on raising more money to invest in

the business, principally allowed insiders to personally take full advantage of the liquidity

opportunity.

       141.    Many of the insider sales occurred at prices above $40, near the Class Period high

and more than double the $19.04 per share price the shares had fallen to at the end of the Class

Period, and far above the less than $15 per share the stock trades at today.


11
        Defendants Wolfe and Moody entered into Rule 10b5-1 trading plans during the middle of the
Class Period and after the fraud had already begun.


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       142.    In total, the Individual Defendants obtained more than $75 million in gross

proceeds from their Class Period sales at inflated prices.

Defendants Conducted Due Diligence Prior to
the Gander Acquisition and Closely Monitored
the Rollout

       143.    The Gander acquisition was the largest single transaction by Camping World

since it became public. Defendants were particularly aware of the negative impact that bad

inventory integration and management from the Gander acquisition would have on Camping

World’s profit margins. Defendant Lemonis, for example, has repeatedly advised business

owners, on his television show The Profit, that good inventory management is one of the most

important attributes of a successful business. Defendant Lemonis has stated that “the best place

to start at any business that is struggling, you should start with inventory,” that “you better have

tight inventory controls” and that “[b]ad inventory management and the wrong inventory are the

two things that kill companies.” 12

       144.    Through the required due diligence prior to the acquisition of Gander, defendants

knew or recklessly disregarded the incompatibility of Camping World’s inventory and

distribution systems with Gander’s retail business, and the SKU and distribution difficulties that

the acquisition would create in transitioning from low-volume, high-priced RV inventory, to

high-volume, low- priced Gander inventory. Moreover, defendants closely monitored and

discussed during every earnings call the rollout of Gander stores.

       145.    Camping World’s SEC filings stated that, as part of its RV acquisition strategy,

the Company would “exchange confidential operational and financial information, conduct due

12
       Reportedly, in connection with The Profit, Lemonis has been sued by multiple small businesses
owners who allege a range of misconduct on his part, including fraudulent inducement and unjust
enrichment. See Exclusive: 20 Business Owners Claim There’s a Dark Side to Marcus Lemonis’s Reality
TV Show ‘The Profit,’ Inc.com, https://www.inc.com/will-yakowicz/dark-side-of-marcus-lemonis-reality-
tv-show-the- profit.html (last visited Feb. 23, 2019).


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diligence inquiries, and consider the structure, terms, and conditions of the potential acquisition.”

The SEC filings relatedly noted that “[p]otential acquisition discussions frequently take place

over a long period of time and involve difficult business integration and other issues.”

Undoubtedly the same due diligence process would have been used for Gander. Moreover, the

Gander Mountain bankruptcy court’s “Bidding Procedures” required that Camping World and

Gander Mountain enter into a confidentiality agreement and that Gander Mountain provide

Camping World “available due diligence access” and make available any “information as may be

reasonably requested” by Camping World. In turn, to submit a bid, Camping World was required

to provide a statement that it “had an opportunity to conduct any and all due diligence regarding

[Gander Mountain’s] businesses and the Assets prior to submitting the bid.” Given the stark

differences between Camping World’s existing RV dealerships and Gander Mountain’s large

retail stores, any reasonable diligence by Camping World would have revealed the

incompatibility of Camping World’s inventory management and distribution systems and the

inventory and distribution necessary to open and run Gander Mountain stores.

       146.    As set forth in ¶¶44-49, 81-82 and 91-130, the Gander acquisition required

moving thousands of new vendors and products to a new operating system that Camping World

had not used, which was time consuming and costly. In their duties as CEO and COO, Lemonis

and Moody knew or recklessly disregarded this information learned in due diligence.

       147.    As set forth in ¶¶51-64 and 66-70 above, Lemonis made clear in public statements

that he and the other defendants were directly involved in and responsible for the selection of

Gander stores. For example, just days after the public announcement of the Gander acquisition,

Lemonis stated that he had “review[ed] the stores in more detail” and announced the plans for

opening Gander stores.




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       148.    Lemonis reaffirmed his close involvement in the Gander integration when he also

told analysts that “[Moody] and I have really been at the forefront of negotiating those leases”

and that they had “elected to pass” on certain stores. Moreover, Lemonis personally posted on

Twitter about the opening of Gander stores, including a May 4, 2017 tweet in which he stated: “I

will update what stores will continue here over the next 30 days @GanderMtn – we will follow

the path to saving jobs and profitability.” Lemonis thereafter posted lists of stores to be reopened

and responded to inquiries on Twitter about the stores selected.

       149.    Defendants also closely monitored the integration and inventory management of

the Gander rollout. For example, Lemonis said they were being “calculated and disciplined . . . in

how we manage this business” and that they had “aggressively negotiated rents [and] diversified

the mix of merchandise.” Lemonis later admitted the integration was a “giant sh[**] show” and

that he had personally witnessed this when he visited the distribution center. Defendants were

particularly aware of the negative impact that bad inventory management would have on

Camping World’s profit margins because, in Lemonis’ words, “[b]ad inventory management and

the wrong inventory are the two things that kill companies.”

       150.    Lemonis admitted that he picked the store locations to open and then reviewed

“daily reports” on the stores. For example, after the Class Period, when defendants closed a

Gander location in Florence, Alabama due to its lack of profitability, Lemonis admitted not only

that he was directly involved in and responsible for the selection of Gander stores to reopen, but

also that he monitored – in detail – the opening and performance of the Gander stores, stating:

       I think in that particular case, I take the blame for any location that we picked.
       Florence, Alabama looked like it had a clear path to profitability. 13 And after 4, 5
       months of reviewing the daily reports, the foot traffic, all of the things, I wasn’t


13
        As explained by FE1, the Florence, Alabama location was a poor-performing Gander Mountain
store and should not have been reopened.


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       satisfied with the rate that it was even moving at. And I did not want to burn
       another dollar for another day. . . .

               I am also closely monitoring other locations in a similar fashion that I
       managed, that I monitored Florence. We haven’t made any conclusive decisions
       yet, but I’m not opposed to any of them. . . . So I would just say, it was my fault. I
       went back to a location out of the 160. I picked one that was wrong. It was my
       fault.

       151.    As set forth in ¶¶91-130 above, former employees have corroborated that

defendants and/or those reporting to them were involved in and closely monitored the selection,

integration, and rollout of Gander stores and were aware of the integration and rollout failures.

       152.    The divergence between the overly rosy assessment of integration in the false and

misleading statements and the truth, as revealed at the end of the Class Period, further supports a

strong inference of scienter. For example, defendants initially stated that they expected to open

15 to 20 Gander stores by the end of 2017. But, due to the rampant inventory and distribution

issues, Camping World had opened just two Gander stores by the end of 2017. Also, during the

August 10, 2017 earnings call, Lemonis estimated that it would cost approximately $20 million

in pre-opening expenses to open 55 Gander stores. But, again due to the rampant inventory and

distribution issues, Camping World had expended more than $25 million in pre-opening

expenses by the end of 2017 alone, with just two stores open. By the time Camping World had

opened approximately 55 Gander stores, the Company had spent over $61 million in pre-opening

expenses, more than triple the initially reported $20 million. Camping World has yet to open the

more than 70 Gander stores defendants originally claimed, rather, Camping World has closed

stores opened after only a few months despite promising to target the most profitable stores and

inventory, and Lemonis admitted the Gander stores would result in $60 million in adjusted

EBITDA losses in 2018. The divergence between what was happening and what defendants

reported supports a strong inference of scienter, particularly given that Lemonis had repeatedly



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promised investors that “we only put numbers out there that we know we can hit,” which further

shows his direct monitoring of the factual details behind his public statements.

Defendants’ Reckless Disregard for Internal
Controls and Accurate Financial Reporting

       153.    As the senior executives and directors of a publicly traded company, the

Individual Defendants knew the existence of any material weakness in the Company’s internal

controls or any defect in its disclosure controls would be material to public investors as it would

immediately call into question the Company’s accounting and financial statements. For example,

the definition of a material weakness is a

       significant deficiency, or combination of significant deficiencies, that result[ed] in
       more than a remote likelihood that a material misstatement of the annual or
       interim financial statements w[ould] not be prevented or detected.

       154.    As of October 6, 2016, Camping World suffered several material weaknesses in

its internal controls, which resulted in the overstatement of EPS and net income by as much as

37%.

       155.    Demonstrating their reckless disregard for the Company’s controls, accounting,

and financial reporting, defendants Lemonis and Wolfe signed certifications throughout the Class

Period stating they had evaluated the Company’s internal controls and procedures and that these

controls and procedures were effective and that Camping World’s financial reporting was

accurate and free from fraud. Moreover, the 2016 10-K, 1Q17 10-Q, 2Q17 10-Q, and 3Q17 10-Q

all stated that the Company’s “management, with the participation of our Chief Executive

Officer and Chief Financial Officer, evaluated, as of the end of the period . . . the effectiveness of

[Camping World’s] disclosure controls and procedures.” And the 2016 10-K further stated that

Camping World had dedicated “significant resources and management attention” to the

Company’s internal controls and procedures.



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        156.   Demonstrating further disregard, defendants were on notice that the Company

lacked reliable accounting infrastructure and controls. Specifically, the FY 2016 Release stated

that “[i]n connection with the preparation of the financial statements for the year ended

December 31, 2016, errors were identified within the elimination of intercompany revenue,

costs, operating expenses, and profit in ending inventory,” which caused Camping World to

revise certain fourth quarter 2015 financial results.

        157.   All of the Individual Defendants had served as senior managers or directors of the

Company prior to the IPO and had intimate familiarity with the Company’s accounting policies,

procedures, and controls and further developed this familiarity and knowledge in preparation for

the IPO and in the first year thereafter. As senior managers and directors of the Company prior to

and after the IPO, all the Individual Defendants knew or recklessly disregarded the accounting

errors described in the FY 2016 Release. Notably, the error in “elimination of intercompany

revenue” identified in the FY 2016 Release was substantially the same as the error in

“elimination of intercompany allocation of certain revenue” identified in the FY 2017 Release a

year later.

        158.   In addition, several of the material weaknesses in the Company’s internal controls

arose from the FreedomRoads segment, which Lemonis had co-founded and run for more than a

decade, which defendant Adams was the Chairman of for more than a decade, and which

defendant Moody was an Executive Vice President of for nearly a decade. Specifically, the

Company admitted that “certain accounting policies and procedures related to corporate

accounting functions within FreedomRoads . . . were not sufficiently documented and/or

executed to be considered effective,” “communication to those executing transactions and

performing corporate review functions at FreedomRoads was not sufficiently performed to




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ensure internal control responsibilities were properly reinforced,” and “information used by

FreedomRoads to analyze trade-in inventory included inaccurate or incomplete data.”

       159.    The existence of prior accounting errors (and in particular prior errors similar to

those ultimately disclosed), the Individual Defendants’ long-standing experience with the

Company and the segments that suffered the errors and weaknesses, the Individual Defendants’

representations to the market, and the magnitude and scope of the errors, support a strong

inference that the Individual Defendants knew or recklessly disregarded the true facts disclosed

toward the end of the Class Period.

Lemonis’ Admissions Regarding His Disclosure
Failures

       160.    Lemonis ran Camping World as a private company for years and was used to

doing what he wanted without any disclosure obligations. In order to partially cash out insiders,

defendants wanted access to the public markets, but without responsibility to investors. That was

clear from the structure of the IPO, which spread the economic risk but kept control tightly held.

       161.    Moreover, on the May 8, 2018 conference call wherein defendants admitted

certain negative facts that had been concealed, Lemonis reflected his indifference to whether the

stock price fluctuated based on speculation from lack of disclosure, stating:

       I kind of didn’t really care about anything other than making sure that I didn’t
       break that plan and I didn’t break make my people, and I didn’t break the process
       or the customer experience. And if the net result was that people speculated about
       the health of the company and drove the stock down and wrote all sorts of crazy
       things about what the company is doing, I kind of didn’t really care because at the
       end of the day, I know this business better than anybody that will ever write about
       it, ever. And I know exactly what works and doesn’t work.

       162.     A month later, during a June 6, 2018 investor conference, Lemonis was more

conciliatory and seemingly admitted that defendants had not provided the full and accurate

disclosures to investors required of a public company, stating in pertinent part:



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       [M]e and not the rest of the team have to do a better job of understanding the
       transition from private company to public company and understanding how to
       share that strategy. Because I am used to holding all my cards so I can sucker
       punch my competitors.

              I realize now that I need to give you enough information so you
       understand why capital is being deployed, why things are being done, so that it
       doesn’t create mistrust or it doesn’t create confusion. So I think that really falls on
       me to do a better job in that regard.

       163.    Later in June 2018, defendant Lemonis conducted an interview with Jim Cramer,

host of the “Mad Money” investment show on CNBC, and again admitted that, “in being a public

company there was a big transition from being private, and I would say that I’ve really learned,

made some rookie mistakes in how to communicate to the market.”

       164.    Defendant Lemonis’ statements regarding his preference for secrecy further

support a strong inference that it was his conscious decisions, not lack of information, which

caused the false and misleading statements.

                        LOSS CAUSATION AND ECONOMIC LOSS

       165.    As detailed herein, defendants’ fraudulent scheme artificially inflated the

Company’s stock price by misrepresenting and concealing the true nature of the Company’s

operations, financial results, and business performance and prospects, and, in particular, the fact

that the Gander stores selected for opening were not limited to the most profitable and best

performing stores; the Gander integration and rollout had suffered significant setbacks and

dysfunction resulting in substantially increased pre-opening costs, delays, and earnings losses;

and the Company was suffering from a multitude of material weaknesses in its internal controls

and disclosure controls, which were not operating effectively, resulting in the issuance of

materially overstated financial results.

       166.     Defendants’ false and misleading statements and omissions, individually and

collectively, concealed Camping World’s true value, controls and infrastructure, and business


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prospects, resulting in the Company’s stock price being artificially inflated until, as indicated

herein, the relevant truth about the Company’s financial and operational condition and future

business prospects was revealed through leakage of information, materialization of risks, and a

series of corrective disclosures. While each of the defendants’ misrepresentations and omissions

were independently fraudulent, they all artificially inflated the Company’s stock price and gave

the market the false notion that the reopened Gander stores were selected based on historical

performance and profitability, that the integration and rollout of the Gander stores was on track

and going as planned with no negative impact on the Company’s profits, that the Company’s

infrastructure and internal controls were sound and effective, and that the Company’s historical

financial results were accurate and prepared in accordance with GAAP. These false and

misleading statements and omissions, among others, prevented the market from learning the truth

and kept the Company’s stock price artificially inflated throughout the Class Period.

       167.    Defendants’ false and misleading statements and omissions caused, or were a

substantial contributing cause of, the Company’s stock trading at artificially inflated levels,

reaching as high as $47.19 per share during the Class Period, on December 7, 2017.

       168.    The truth began to emerge as information leaked into the market, the Company

made a series of partial disclosures, and/or the risks began to materialize beginning on February

27, 2018 and continuing through the close of the market on August 8, 2018, causing substantial

losses to investors.

       169.    The chart below demonstrates the divergence of the Company’s stock price from

Standard & Poor’s Composite Index (“S&P Index”) and the Company’s identified peers’ stock

prices (“Peer Index”) as the revelation of the truth became known. While Camping World’s




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stock price fell approximately 55% on from the close of February 26, 2018 through August 8,

2016, the S&P Index and the Peer Index increased by 3.9% and 3.2%, respectively.

                                         Camping World
                        vs Standard & Poor’s Composite 500 Index and Peer Index
                                February 26, 2018 through August 8, 2018




       170.    Indeed, starting in late February 2018, the truth about Camping World’s true

infrastructure, controls, and value began to leak out, materialize, and/or be revealed over the

course of a series of disclosures. The discussion of the following disclosures incorporates by

reference the discussion of these events above.

       171.    On February 27, 2018, the price of Camping World Class A common stock closed

at $41.29 per share, a decline of $1.74 per share from the prior day’s close. After the close of

trading, Camping World issued the FY 2017 Release disclosing that the Company suffered from

unidentified material weaknesses in internal controls and that the Company’s prior financial

statements included accounting errors and overstatements of financial results.

       172.    On March 1, 2018, the date by which Camping World was required to file its

2017 10-K, Camping World failed to file its 2017 10-K by market close. Then, after market close


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on March 1, 2018, the Company confirmed that it would be unable to timely file the 2017 10-K

due to “material weaknesses in its internal control over financial reporting relating to the

insufficient documentation of certain accounting policies and procedures within the Company’s

retail segment, and ineffective transactional level and management review controls over the

valuation of used trade- in inventory,” which “required the Company to perform additional

procedures and analyses in connection with the Company’s annual financial statement close

process and preparation of the Form 10-K.”

       173.   As a result of leakage of information regarding the Company’s true internal

controls, disclosure controls, and misstated financials, the materialization of the risk of such

material weaknesses and ineffective controls, and the corrective disclosures described above, the

price of Camping World Class A common stock declined from $43.03 per share on the close of

February 26, 2018 to $38.40 on March 2, 2018. As the market continued to digest the

information, the price of Camping World Class A common stock continued to decline on the

next trading day, March 5, 2018, falling from $38.40 per share to $37.23 per share.

       174.   In total, from the close of February 26, 2018 through March 5, 2018, the price of

Camping World Class A common stock declined by more than 13%, falling from $43.03 per

share on the close of trading on February 26, 2018 to $37.23 per share on the close of trading on

March 5, 2018, on abnormally high trading volume. The trading volume on each of the days

between February 26, 2018 and March 5, 2018 was higher than the trading volume of any trading

day in the previous four weeks.

       175.   Between the February and March disclosures set forth above and May 8, 2018,

Camping World’s stock price dropped from approximately $37 to $27 per share. But, despite the

disclosures and stock price declines, the price of Camping World’s Class A common stock




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remained artificially inflated due to defendants’ continued false and misleading statements. In

May and August 2018, Camping World issued additional corrective disclosures revealing the

true facts about Gander, and the Company’s stock price declined as a result.

       176.    On May 8, 2018, Camping World began to reveal the integration and rollout

problems that caused the delayed Gander store openings and increased costs, including the

inventory, distribution, and technological issues being confronted. As a result, the price of

Camping World Class A stock fell $4.60 per share, or 17%, on abnormally high trading volume

to close at $23.02 per share on May 8, 2018, and analysts slashed their price targets.

       177.    Then, on August 10, 2018, Camping World further revealed the Gander

integration and rollout problems, and the financial impact thereof. On this news, the price of

Camping World Class A stock fell $3.17 per share, or 14%, on abnormally high trading volume

to close at $19.04 per share on August 8, 2018, and analysts again slashed their price targets.

       178.    From February 26, 2018, when Camping World Class A common stock closed at

$43.03 per share, to August 8, 2018, when Camping World Class A common stock closed at

$19.04 per share, Camping World Class A common stock declined by $23.99 per share, or 56%,

owing to investors’ incorporation of the information correcting defendants’ prior false and

misleading statements. Since August 8, 2018, the price of Camping World stock has continued to

decline, now trading at less than $15 per share.

                               PRESUMPTION OF RELIANCE

       179.    At all relevant times, the market for Camping World Class A common stock was

an efficient market for the following reasons, among others:

               (a)     Camping World Class A common stock met the requirements for listing

and was listed and actively traded on the NYSE, a highly efficient and automated market;




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               (b)        according to the Company’s 2017 10-K, filed on March 13, 2018, the

Company had more than 36.7 million shares of Class A stock outstanding as of March 12, 2018,

demonstrating a very active and broad market for Camping World Class A common stock;

               (c)     as a regulated issuer, Camping World filed periodic public reports with the

SEC;

               (d)     Camping World regularly communicated with public investors via

established market communication mechanisms, including the regular dissemination of press

releases on national circuits of major newswire services, the Internet and other wide-ranging

public disclosures; and

               (e)     Camping World was followed by numerous securities analysts employed

by major brokerage firms, such as Wells Fargo Securities, LLC, Credit Suisse, BMO Capital

Markets, JPMorgan, and Stephens, Inc., who wrote reports that were distributed to the brokerage

firms’ sales forces and the public.

       180.    As a result of the foregoing, the market for Camping World Class A common

stock promptly digested current information regarding Camping World from publicly available

sources and reflected such information in Camping World’s Class A stock price. Under these

circumstances, a presumption of reliance applies to plaintiffs’ purchases of Camping World

Class A common stock.

       181.    A presumption of reliance is also appropriate in this action under the Supreme

Court’s holding in Affiliated Ute Citizens v. United States, 406 U.S. 128 (1972), because

plaintiffs’ claims are based, in significant part, on defendants’ material omissions. Because this

action involves defendants’ failure to disclose material adverse information regarding Camping

World’s business and operations, positive proof of reliance is not a prerequisite to recovery. All




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that is necessary is that the facts withheld be material in the sense that a reasonable investor

might have considered them important in making investment decisions. Given the importance of

defendants’ material omissions set forth above, that requirement is satisfied here.

                                      NO SAFE HARBOR

       182.    The false and misleading statements alleged herein were not forward looking and

the safe harbor does not apply. To the extent any of the alleged false and misleading statements

were forward looking, the federal statutory safe harbor providing for forward-looking statements

under certain circumstances does not apply. Many of the specific statements alleged were not

identified as “forward-looking statements” when made. To the extent there were any forward-

looking statements, there were no meaningful cautionary statements accompanying them. To be

meaningful, cautionary statements must identify important factors that could cause actual results

to differ materially from those in the purportedly forward-looking statements. Such cautions

were absent from Camping World’s Class Period filings and oral disclaimers.

       183.    Alternatively, to the extent that the statutory safe harbor could apply to any

forward- looking statements pleaded herein, defendants are liable for those false and misleading

forward- looking statements because, at the time each of those forward-looking statements were

made, the speaker knew that the particular forward-looking statement was false or misleading

and the forward- looking statement was authorized and approved by an executive officer of

Camping World who knew that those statements were false or misleading when made.

       184.    Moreover, to the extent that defendants issued any disclosures designed to warn

or caution investors of certain risks, those disclosures were also false and misleading since they

did not disclose that defendants were actually engaging in the very actions about which they

purportedly warned and/or had actual knowledge of material adverse facts undermining such

disclosures. For example, the 2016 10-K’s purported warning that “[i]f we fail to establish and


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maintain effective internal control over financial reporting and disclosure controls and

procedures, we may not be able to accurately report our financial results, or report them in a

timely manner” was materially false and misleading because the Company already suffered

material weaknesses in its internal controls, its disclosure controls were ineffective, and as a

result, the 2016 10-K was not accurate. Additionally, the 2017 10-K’s purported warning of

“potential difficulties of integrating the business[] of Gander” with Camping World’s business,

such as “unanticipated issues in integrating suppliers, logistics, distribution, [and] retail

operations,” was false and misleading because Camping World was already experiencing

substantial difficulties in integrating Gander, including then-existing issues with logistics,

distribution, and retail operations, which negatively impacted the Company’s profit margins.

                                           COUNT I

              For Violation of §10(b) of the Exchange Act and SEC Rule 10b-5
                  Against Camping World and the Individual Defendants

       185.   Plaintiffs incorporate the foregoing paragraphs by reference.

       186.   During the Class Period, Camping World and the Individual Defendants

disseminated or approved the false or misleading statements specified above, which they knew or

recklessly disregarded were misleading in that they contained misrepresentations and failed to

disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

       187.   These defendants violated §10(b) of the Exchange Act and SEC Rule 10b-5

promulgated thereunder in that they:

              (a)     Employed devices, schemes, and artifices to defraud;




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               (b)     Made untrue statements of material fact or omitted to state material facts

necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading; or

               (c)     Engaged in acts, practices and a course of business that operated as a fraud

or deceit upon plaintiffs and other members of the Class in connection with their purchases of

Camping World Class A common stock.

       188.    As a direct and proximate result of defendants’ wrongful conduct, plaintiffs and

other members of the Class suffered damages in connection with their respective purchases of

Camping World Class A common stock during the Class Period, because, in reliance on the

integrity of the market, plaintiffs and other members of the Class paid artificially inflated prices

for Camping World Class A common stock and experienced losses when the artificial inflation

was released from Camping World Class A common stock as a result of the leakage and

disclosure of information and price declines detailed herein. Plaintiffs and other members of the

Class would not have purchased Camping World Class A common stock at the prices paid, or at

all, if they had been aware that the market price had been artificially and falsely inflated by

defendants’ false and misleading statements.

       189.    By virtue of the foregoing, Camping World and the Individual Defendants have

each violated §10(b) of the Exchange Act and SEC Rule 10b-5 promulgated thereunder.

                                            COUNT II

                        For Violation of §20(a) of the Exchange Act
              Against the Individual Defendants and the Crestview Defendants

       190.    Plaintiffs incorporate the foregoing paragraphs by reference.

       191.    The Individual Defendants and the Crestview Defendants acted as controlling

persons of Camping World within the meaning of §20(a) of the Exchange Act.



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        192.    By virtue of their high-level positions, and their ownership and contractual rights,

participation in and/or awareness of the Company’s operations and/or intimate knowledge of the

false and misleading statements filed by the Company with the SEC and disseminated to the

investing public, the Individual Defendants and the Crestview Defendants had the power to

influence and control, and did influence and control, directly or indirectly, the decision-making

of the Company, including the content and dissemination of the various statements that plaintiffs

contend are false and misleading. The Individual Defendants and the Crestview Defendants

(either directly or through their two representatives on the Camping World Board) were provided

with, or had unlimited access to copies of, the Company’s reports, press releases, public filings

and other statements alleged by plaintiffs to be misleading before and/or shortly after these

statements were issued and had the ability to prevent the issuance of the statements or cause the

statements to be corrected.

        193.    Lemonis and the Crestview Defendants further controlled Camping World by

virtue of their share ownership, power to appoint directors, agreements with the Company, and

historical and professional relationships with Camping World and the Individual Defendants. For

example, the Company’s 2017 10-K characterized Camping World as a “‘controlled company,’”

stating in pertinent part:

                Pursuant to the terms of the Voting Agreement, Marcus Lemonis, through
        his beneficial ownership of our shares directly or indirectly held by ML
        Acquisition and ML RV Group, and certain funds controlled by Crestview
        Partners II GP, L.P., in the aggregate, have more than 50% of the voting power
        for the election of directors, and, as a result, we are considered a “controlled
        company” for the purposes of the New York Stock Exchange (the “NYSE”)
        listing requirements. As such, we qualify for, and rely on, exemptions from
        certain corporate governance requirements, including the requirements to have a
        majority of independent directors on our board of directors, an entirely
        independent nominating and corporate governance committee, an entirely
        independent compensation committee or to perform annual performance




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       evaluation of the nominating and corporate governance and compensation
       committees.

       194.    As set forth above, Camping World violated §10(b) and Rule 10b-5 promulgated

thereunder by its acts and omissions as alleged in this complaint. By virtue of their positions as

controlling persons, and as a result of their aforementioned conduct, the Individual Defendants

and the Crestview Defendants are liable pursuant to §20(a) of the Exchange Act for the §10(b)

violations. As a direct and proximate result of these defendants’ wrongful conduct, plaintiffs and

other members of the Class suffered damages in connection with their purchases of the

Company’s stock during the Class Period, as evidenced by, among others, the stock price

declines discussed above, when the artificial inflation was released from the Company’s stock.




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                         NON-FRAUD SECURITIES ACT CLAIMS

       195.    The claims set forth below in Counts III through VII allege violations of §§11,

12(a)(2), and 15 of the Securities Act (“Securities Act Claims”). The Securities Act Claims are

based solely on strict liability and negligence – i.e., not on intentional or reckless conduct – and

plaintiffs specifically disclaim any allegations of fraud, scienter, or recklessness in connection

with these non-fraud claims. For purposes of the Securities Act Claims, plaintiffs repeat and re-

allege the allegations from ¶¶13-16, 32-45, 50 and 75-130.

Background to the Securities Act Claims

       196.    Following corporate scandals and the stock market crash of 1929, Congress

passed the Securities Act to ensure accurate disclosures in connection with public offerings of

securities. During the Class Period, Camping World completed three public offerings of Class A

common stock – the October 2016 IPO, the May 2017 Offering, and the October 2017 Offering.

       197.    Under the Securities Act, Camping World, the individuals who signed the

offering materials, and the underwriters to the offerings, are liable for material false or

misleading statements or omissions in the offering documents. As the SEC admonished Lemonis

and Camping World in a letter on July 13, 2016, it would be “inappropriate to suggest that you

are not responsible for the accuracy of the information you elect to include in your disclosure

document.”

       198.    The offering materials issued in connection with the October 2016 IPO, May

2017 Offering, and the October 2017 Offering contained false and misleading statements, which

misrepresented the true business and value of Camping World. Defendants priced the October

2016 IPO at $22 per share, the May 2017 Offering at $27.75 per share, and the October 2017

Offering at $40.50 per share. As of the date of this filing, with the true facts about Camping




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World having been revealed, Camping World is trading at less than $15 per share, resulting in

millions of dollars of investor losses.

       199.    The Securities Act Claims seek to recover such losses suffered by lead plaintiff

City of Pontiac General Employees’ Retirement System, named plaintiff Plumbers &

Steamfitters Local Union #486 Pension Fund, named plaintiff Daniel Geis, and all those

similarly situated who purchased shares of Camping World Class A common stock pursuant to

the false and misleading offering materials.

Securities Act Claims Defendants

       200.    Defendants Camping World, Lemonis, Wolfe, Adams, Moody, and the Crestview

Defendants (see ¶¶24-31) are re-alleged as defendants to the Securities Act Claims, which are

also brought against current and former Camping World directors who signed the offering

materials at issue and the underwriters of the offerings.

       201.    Defendant Andris A. Baltins (“Baltins”) has served as a director of Camping

World since its formation in 2016.

       202.    Defendant Brian P. Cassidy (“Cassidy”) has served as a director of Camping

World since its formation in 2016.

       203.    Defendant Mary J. George (“George”) has served as a director of Camping World

since January 2017.

       204.    Defendant Daniel G. Kilpatrick (“Kilpatrick”) served as a director of Camping

World from January 2017 to May 2018.

       205.    Defendant Howard A. Kosick (“Kosick”) has served as a director of Camping

World since October 2017.

       206.    Defendant Jeffrey A. Marcus (“Marcus”) has served as a director of Camping

World since its formation in 2016.


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       207.   Defendant K. Dillon Schickli (“Schickli”) has served as a director of Camping

World since its formation in 2016.

       208.   Defendants Lemonis, Adams, Baltins, Cassidy, George, Kilpatrick, Kosick,

Marcus, and Schickli each personally or through power of attorney signed the IPO Registration

Statement (defined below) issued in connection with the October 2016 IPO and are collectively

referred to herein as the “October 2016 IPO Defendants.”

       209.   Defendants Lemonis, Wolfe, Adams, Baltins, Cassidy, George, Kilpatrick,

Kosick, Marcus, and Schickli each personally or through power of attorney signed the May 2017

Registration Statement (defined below) issued in connection with the May 2017 Offering and are

collectively referred to herein as the “May 2017 Offering Defendants.”

       210.   Defendant Lemonis, Wolfe, Adams, Baltins, Cassidy, George, Kilpatrick, Marcus,

and Schickli each personally or through power of attorney signed the October 2017 Registration

Statement (defined below) issued in connection with the October 2017 Offering and are

collectively referred to herein as the “October 2017 Offering Defendants.”

       211.   Defendants Goldman Sachs & Co. LLC (“Goldman Sachs”), J.P. Morgan

Securities LLC (“J.P. Morgan”), Merrill Lynch, Pierce, Fenner & Smith Incorporated (“Merrill

Lynch”), Credit Suisse Securities (USA) LLC (“Credit Suisse”), Robert W. Baird & Co.

Incorporated (“Baird”), BMO Capital Markets Inc. (“BMO”), KeyBanc Capital Markets Inc.

(“KeyBanc”), Stephens Inc. (“Stephens Inc.”), and Wells Fargo Securities, LLC (“Wells Fargo”)

served as the underwriters for the October 2016 IPO, May 2017 Offering, and for the October

2017 Offering and are collectively referred to herein as the “Underwriter Defendants.”




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       212.    The Underwriter Defendants received combined discounts and commissions of

approximately $10.5 million in connection with the May 2017 Offering, and combined discounts

and commissions of approximately $8.1 million in connection with the October 2017 Offering.

The October 2016 Registration Statement Was False
and Misleading

       213.    Camping World was taken public in October 2016 through an IPO of Class A

common stock at $22 per share, raising approximately $261 million.

       214.    The October 2016 IPO was sold pursuant to a prospectus for an initial public

offering on Form 424B4, dated October 6, 2016 (and filed with the SEC on October 11, 2016),

which incorporated a registration statement for the offering filed with the SEC on Form S-1 on

October 3, 2016 (collectively, the “IPO Registration Statement”).

       215.    The IPO Registration Statement contained untrue statements of material facts,

omitted to state other facts necessary to make the statements made not misleading, and was not

prepared in accordance with the rules and regulations governing its preparation. Specifically, the

IPO Registration Statement contained the following false and misleading statements:

               (a)    The IPO Registration Statement stated: “[o]ur risk management policies

and procedures may not be fully effective in achieving their purposes”; and

       216.    The IPO Registration Statement stated that “[a]s a public reporting company, we

will be subject to rules and regulations established from time to time by the SEC regarding our

internal control over financial reporting. If we fail to establish and maintain effective internal

control over financial reporting and disclosure controls and procedures, we may not be able to

accurately report our financial results, or report them in a timely manner.”

       217.    The statements set forth in ¶¶215-216 were materially false and misleading for the

following reasons:



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               (a)    As of October 6, 2016 and continuing thereafter, the Company’s internal

controls and disclosure controls were not effective but in fact suffered from several material

weaknesses, including: (i) deficient tax controls; (ii) inadequate accounting policies and

procedures in the FreedomRoads reporting segment; (iii) ineffective transaction-level and

management review controls over the valuation of trade-in unit inventory; and (iv) insufficient

documentation of certain accounting policies and procedures within the retail segment; and

               (b)    As of October 6, 2016 and continuing thereafter, the Company’s internal

controls were not effective and the Company suffered material weaknesses that resulted in

Camping World having failed to properly: (i) defer a portion of roadside assistance policies; (ii)

apply vendor rebates against related inventory balances; (iii) allocate intercompany revenue from

new and used vehicles to consumer services and plans; and (iv) allocate intercompany markup

costs applicable to new and used vehicles.

       218.    As set forth in ¶¶78-80 above, Camping World confirmed that the IPO

Registration Statement contained materially false and misleading statements through a series of

disclosures correcting the financial information and admitting material weaknesses in its internal

controls. Between the October 2016 IPO and the date of this filing, the price of Camping World

Class A common stock has declined by more than 25%.

The May 2017 Registration Statement Was False
and Misleading

       219.    After going public in October 2016, in the May 2017 Offering, the Company and

the Crestview Defendants sold nine million shares of Camping World Class A stock. In total,

after the Underwriter Defendants exercised their options to purchase 1.425 million additional

shares, the Crestview Defendants received more than $165 million, and the Company received

more than $120 million, from the May 2017 Offering at inflated prices.



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          220.   The May 2017 Offering was sold pursuant to a prospectus for a secondary

offering of Camping World Class A shares filed with the SEC on Form 424B4 on May 26, 2017,

which incorporated a registration statement for the offering filed on Form S-1 on March 29,

2017, and amended May 9 and 22, 2017 (collectively, “May 2017 Registration Statement”). The

May 2017 Registration Statement expressly incorporated by reference the following documents

filed with the SEC: the 2016 10-K, the 1Q17 10-Q, Camping World’s Definitive Proxy

Statement on Schedule 14A for full year 2016, and various Camping World filings on Form 8-K.

Documents incorporated by reference are deemed to be part of the May 2017 Registration

Statement.

          221.   The May 2017 Registration Statement contained untrue statements of material

facts, omitted to state other facts necessary to make the statements made not misleading, and was

not prepared in accordance with the rules and regulations governing its preparation. Specifically,

by incorporating the 2016 10-K and 1Q17 10-Q, the May 2017 Registration Statement included

the same Overstated EPS and Net Income Statements as in ¶52; the same Disclosure Control

Statement and Internal Controls Statement as in ¶53; the same Signed Certification Statements

by defendants Lemonis and Wolfe as in ¶53; and the same Compliance with GAAP Statement as

in ¶53.

          222.   The statements set forth in ¶221 were materially false and misleading for the

following reasons:

                 (a)    As of October 6, 2016 and continuing thereafter, the Company’s internal

controls and disclosure controls were not effective but in fact suffered from several material

weaknesses, including: (i) deficient tax controls; (ii) inadequate accounting policies and

procedures in the FreedomRoads reporting segment; (iii) ineffective transaction-level and




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management review controls over the valuation of trade-in unit inventory; and (iv) insufficient

documentation of certain accounting policies and procedures within the retail segment;

               (b)    As of October 6, 2016 and continuing thereafter, the Company’s internal

controls were not effective and the Company suffered material weaknesses that resulted in

Camping World having failed to properly: (i) defer a portion of roadside assistance policies; (ii)

apply vendor rebates against related inventory balances; (iii) allocate intercompany revenue from

new and used vehicles to consumer services and plans; and (iv) allocate intercompany markup

costs applicable to new and used vehicles;

               (c)    The Company’s historical financial results reported in the 2016 10-K had

not been prepared and reported in accordance with GAAP; and

               (d)    As a result of the numerous errors, misstatements, and material

weaknesses listed in (a)-(c) above, the Company’s financial statements included in the 2016 10-

K could not be relied on and its reported financial results were materially overstated, including:

(i) basic earnings per share for the period from October 6, 2016 to December 31, 2016 was only

$0.08 per share, rather than the $0.11 represented, an overstatement of more than 37%; (ii)

diluted earnings per share for the period from October 3, 2016 to December 31, 2016 was only

$0.07 per share, rather than the $0.09 represented, an overstatement of more than 28%; (iii) total

net income for the three months ending December 31, 2016 was only $11.53 million, rather than

the $13.6 million represented, an overstatement of more than 18%; and (iv) net income

attributable to Camping World, and excluding non-controlling interests, for the three months

ending December 31, 2016 was only $1.59 million, rather than the $2.06 million represented, an

overstatement of more than 29%.




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       223.    As set forth in ¶¶76-80 above, Camping World confirmed that the May 2017

Registration Statement contained materially false and misleading statements through a series of

disclosures correcting the financial information and admitting material weaknesses in its internal

controls. Between the May 2017 Offering and the date of this filing, the price of Camping World

Class A common stock has declined by more than 40%.

The October 2017 Registration Statement Was
False and Misleading

       224.    Only five months after the May 2017 Offering, with the stock trading at around

Class Period highs of more than $40 per share, Camping World – along with the October 2017

Offering Defendants and the Underwriter Defendants – conducted the October 2017 Offering to

allow the Crestview Defendants to sell 6.7 million shares of Camping World Class A common

stock. In total, after the Underwriter Defendants exercised their options to purchase an additional

1.005 million shares, the Crestview Defendants received more than $300 million from the

October 2017 Offering at inflated prices.

       225.    The October 2017 Offering was sold pursuant to a prospectus for a secondary

offering of Camping World Class A shares filed with the SEC on Form 424B4 on October 27,

2017, which incorporated a registration statement for the offering filed on Form S-1 on October

23, 2017, and amended on October 25, 2017 (collectively, “October 2017 Registration

Statement”). The October 2017 Registration Statement expressly incorporated by reference the

following documents filed with the SEC: the 2016 10-K, the 1Q17 10-Q, the 2Q17 10-Q,

Camping World’s Definitive Proxy Statement on Schedule 14A for full year 2016, and various

Camping World filings on Form 8-K. Documents incorporated by reference are deemed to be

part of the October 2017 Registration Statement.




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       226.    The October 2017 Registration Statement contained untrue statements of material

facts, omitted to state other facts necessary to make the statements made not misleading, and was

not prepared in accordance with the rules and regulations governing its preparation. Specifically,

by incorporating the 2016 10-K, 1Q17 10-Q, and 2Q17 10-Q, the October 2017 Registration

Statement contained the following statements:

               (a)    The October 2017 Registration Statement included the same Overstated

EPS and Net Income Statements as in ¶52; the same Disclosure Control Statement and

Internal Controls Statement as in ¶53; the same Signed Certification Statements by defendants

Lemonis and Wolfe as in ¶53; and the same Compliance with GAAP Statement as in ¶53; and

               (b)    The October 2017 Registration Statement purported to warn of “potential

difficulties of combining the business[] of Gander” with Camping World’s business, such as

“unanticipated issues in integrating suppliers, logistics, distribution, [and] retail operations”

       227.    The statements set forth in ¶226 were materially false and misleading for the

following reasons:

               (a)    As of October 6, 2016 and continuing thereafter, the Company’s internal

controls and disclosure controls were not effective but in fact suffered from several material

weaknesses, including: (i) deficient tax controls; (ii) inadequate accounting policies and

procedures in the FreedomRoads reporting segment; (iii) ineffective transaction-level and

management review controls over the valuation of trade-in unit inventory; and (iv) insufficient

documentation of certain accounting policies and procedures within the retail segment;

               (b)    As of October 6, 2016 and continuing thereafter, the Company’s internal

controls were not effective and the Company suffered material weaknesses that resulted in

Camping World having failed to properly: (i) defer a portion of roadside assistance policies; (ii)




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apply vendor rebates against related inventory balances; (iii) allocate intercompany revenue from

new and used vehicles to consumer services and plans; and (iv) allocate intercompany markup

costs applicable to new and used vehicles;

              (c)     The Company’s historical financial results reported in the 2016 Form 10-

K had not been prepared and reported in accordance with GAAP;

              (d)     As a result of the numerous errors, misstatements, and material

weaknesses listed in (a)-(c) above, the Company’s financial statements included in the 2016

Form 10-K could not be relied on and its reported financial results were materially overstated,

including: (i) basic earnings per share for the period from October 3, 2016 to December 31, 2016

was only $0.08 per share, rather than the $0.11 represented, an overstatement of more than 37%;

(ii) diluted earnings per share for the period from October 3, 2016 to December 31, 2016 was

only $0.07 per share, rather than the $0.09 represented, an overstatement of more than 28%; (iii)

total net income for the three months ending December 31, 2016 was only $11.53 million, rather

than the $13.6 million represented, an overstatement of more than 18%; and (iv) net income

attributable to Camping World, and excluding non-controlling interests, for the three months

ending December 31, 2016 was only $1.59 million, rather than the $2.06 million represented, an

overstatement of more than 29%; and

              (e)     Camping World had already experienced substantial difficulties in

“integrating the business of Gander,” including material negative events that occurred during the

integration of Gander inventory into Camping World’s systems due to inventory, distribution,

and technological incompatibility, which required the manual entry of SKUs, the loss of SKUs

during the process of uploading into the inventory system, SKUs becoming uncoupled from the

products they were supposed to identify, an understaffed distribution center, difficulties in




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receiving inventory at the distribution center, lost inventory, and inventory backlogs, resulting in

delayed inventory orders, delayed opening of stores, loss of price concessions, and increased pre-

opening store costs.

The October 2017 Registration Statement
Violated Item 303

       228.    In addition to the misstatements and omissions set forth above, the October 2017

Registration Statement was false and misleading because it failed to disclose material

information that was required to be disclosed pursuant to the regulations governing its

preparation.

       229.    Specifically, Item 303 required the October 2017 Registration Statement to

describe “any known trends or uncertainties that have had or that the registrant reasonably

expects will have a material favorable or unfavorable impact on net sales or revenues or income

from continuing operations.” See ¶¶72-73. Item 303 also required the October 2017 Registration

Statement to disclose events that would “cause a material change in the relationship between

costs and revenues” and “any unusual or infrequent events or transactions or any significant

economic changes that materially affected the amount of reported income from continuing

operations and, in each case, indicate the extent to which income was so affected.”

       230.    In negligent violation of these disclosure obligations, the October 2017

Registration Statement failed to disclose known material trends, events, and uncertainties known

to management that were reasonably expected to have a material adverse effect on the

Company’s resources and results of operations, including:

               (a)     The Company had decided to rush to open Gander stores that historically

were not among the highly profitable and high-performing stores prior to Gander’s bankruptcy,

and, in some cases, were among the historically worst-performing Gander stores;



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               (b)     The Company’s decision to liquidate all Gander inventory delayed the

opening of stores, as the Company needed to acquire sufficient inventory to stock the stores and

the difficulty of stocking inventory was compounded by the fact that Camping World utilized its

existing distribution practices and technology for inventory management (e.g., SKUs), which

were geared toward large, single items, like RVs, and not toward Gander’s high volume, smaller

products, all of which was increasing the costs of opening the Gander stores;

               (c)     Camping World was facing material negative events that occurred during

the integration of Gander inventory into Camping World’s systems due to inventory, distribution,

and technological incompatibility, which required the manual entry of SKUs, the loss of SKUs

during the process of uploading into the inventory system, SKUs becoming uncoupled from the

products they were supposed to identify, an understaffed distribution center, difficulties in

receiving inventory at the distribution center, lost inventory, and inventory backlogs, resulting in

delayed inventory orders, delayed opening of stores, loss of price concessions, and increased pre-

opening store costs; and

               (d)     The events described in subparagraphs (a)-(c) above each negatively

impacted the Company’s profit margins and results of operations.

       231.    As set forth in ¶¶76-80 above, Camping World confirmed that the October 2017

Registration Statement contained materially false and misleading statements and omitted to

disclose known trends and uncertainties that were reasonably expected to have a material adverse

effect on the Company’s resources and results of operations through a series of disclosures

correcting the financial information, admitting material weaknesses in its internal controls, and

admitting that the integration and rollout of Gander stores had been a disaster and severely

impacted the Company’s results of operations.




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       232.    Between the October 2017 Offering and the date of this filing, the price of

Camping World Class A common stock declined by more than 60%.

                                            COUNT III

                      For Violation of Section 11 of the Securities Act
                 Against Camping World, the October 2016 IPO Defendants,
                             and the Underwriter Defendants

       233.    Plaintiffs incorporate ¶¶195-232 by reference.

       234.    The IPO Registration Statement was inaccurate and misleading, contained untrue

statements of material facts, omitted to state other facts necessary to make the statements made

not misleading, and omitted to state material facts required to be stated therein.

       235.    Camping World is the registrant for the shares of Camping World Class A

common stock, and as such is strictly liable for the false and misleading statements in the IPO

Registration Statement. The Underwriter Defendants, who served as underwriters to the October

2016 IPO, and the October 2016 IPO Defendants, who signed the IPO Registration Statement,

were responsible for the contents and dissemination of the October 2016 Registration Statement.

       236.    None of the defendants named herein made a reasonable investigation or

possessed reasonable grounds for the belief that the statements contained in the IPO Registration

Statement were true and without omissions of any material facts and were not misleading.

       237.    By reasons of the conduct alleged, each of the defendants named herein violated

§11 of the Securities Act.

       238.    Named Plaintiff Daniel Geis purchased shares of Camping World Class A

common stock in the October 2016 IPO and pursuant to the IPO Registration Statement. At the

time Daniel Geis purchased those shares, he and other members of the Class were without

knowledge of the facts concerning the wrongful conduct alleged herein.




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       239.    Daniel Geis and members of the Class have sustained damages. The value of the

shares of the Camping World Class A common stock has declined substantially subsequent to

and due to defendants’ violations.

                                          COUNT IV

                   For Violation of Section 12(a)(2) of the Securities Act
                Against Camping World, the October 2016 IPO Defendants,
                the Crestview Defendants, and the Underwriter Defendants

       240.    Plaintiffs incorporate ¶¶195-239 by reference.

       241.    Camping World, the October 2016 IPO Defendants, the Crestview Defendants,

and the Underwriter Defendants were sellers and offerors and/or solicitors of purchasers of the

shares of the Camping World Class A common stock offered pursuant to the IPO Registration

Statement and were motivated by a desire to serve their own financial interests or those of

Camping World.

       242.    The IPO Registration Statement contained untrue statements of material fact,

omitted to state other facts necessary to make the statements made not misleading, and omitted to

state material facts required to be stated therein. Camping World, the October 2016 IPO

Defendants’, the Crestview Defendants’, and the Underwriter Defendants’ actions of solicitation

included participating in the preparation of the false and misleading IPO Registration Statement

and participating in marketing the shares of the Camping World Class A common stock to

investors.

       243.    Camping World, the October 2016 IPO Defendants, the Crestview Defendants,

and the Underwriter Defendants owed to the purchasers of Camping World Class A common

stock, including named plaintiff Daniel Geis and other Class members, the duty to make a

reasonable and diligent investigation of the statements contained in the IPO Registration

Statement to ensure that such statements were true and that there was no omission to state a


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material fact required to be stated in order to make the statements contained therein not

misleading. These defendants, in the exercise of reasonable care, should have known of the

misstatements and omissions contained in the IPO Registration Statement as set forth above.

       244.    Daniel Geis and other members of the Class purchased shares of Camping World

Class A common stock pursuant to the defective IPO Registration Statement. Daniel Geis did

not know, nor in the exercise of reasonable diligence could have known, of the inaccuracies and

omissions contained in the October 2016 Registration Statement.

       245.    By reason of the conduct alleged herein, the defendants named herein violated

§12(a)(2) of the Securities Act. Accordingly, members of the Class who hold shares of Class A

common stock have the right to rescind and recover the consideration paid for their shares and

hereby elect to rescind and tender those shares to the defendants sued herein, and Class members

who have sold their shares of the Class A common stock are entitled to rescissory damages.

                                            COUNT V

                         For Violation of §11 of the Securities Act
                Against Camping World, the May 2017 Offering Defendants,
                             and the Underwriter Defendants

       246.    Plaintiffs incorporate ¶¶195-245 by reference.

       247.    The May 2017 Registration Statement was inaccurate and misleading, contained

untrue statements of material facts, omitted to state other facts necessary to make the statements

made not misleading, and omitted to state material facts required to be stated therein.

       248.    Camping World is the registrant for the shares of Camping World Class A

common stock, and as such is strictly liable for the false and misleading statements in the May

2017 Registration Statement. The Underwriter Defendants, who served as underwriters to the

May 2017 Offering, and the May 2017 Offering Defendants, who signed the May 2017




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Registration Statement, were responsible for the contents and dissemination of the May 2017

Registration Statement.

       249.    None of the defendants named herein made a reasonable investigation or

possessed reasonable grounds for the belief that the statements contained in the May 2017

Registration Statement were true and without omissions of any material facts and were not

misleading.

       250.    By reasons of the conduct alleged, each of the defendants named herein violated

§11 of the Securities Act.

       251.    Lead plaintiff City of Pontiac General Employees’ Retirement System purchased

shares of Camping World Class A common stock in the May 2017 Offering and pursuant to the

May 2017 Registration Statement. At the time City of Pontiac General Employees’ Retirement

System purchased those shares, it and other members of the Class were without knowledge of the

facts concerning the wrongful conduct alleged herein.

       252.    City of Pontiac General Employees’ Retirement System and members of the

Class have sustained damages. The value of the shares of the Camping World Class A common

stock has declined substantially subsequent to and due to defendants’ violations.

                                          COUNT VI

                       For Violation of §12(a)(2) of the Securities Act
                Against Camping World, the May 2017 Offering Defendants,
                the Crestview Defendants, and the Underwriter Defendants

       253.    Plaintiffs incorporate ¶¶195-252 by reference.

       254.    Camping World, the May 2017 Offering Defendants, the Crestview Defendants,

and the Underwriter Defendants were sellers and offerors and/or solicitors of purchasers of the

shares of the Camping World Class A common stock offered pursuant to the May 2017




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Registration Statement and were motivated by a desire to serve their own financial interests or

those of Camping World.

       255.    The May 2017 Registration Statement contained untrue statements of material

fact, omitted to state other facts necessary to make the statements made not misleading, and

omitted to state material facts required to be stated therein. Camping World’s, the May 2017

Offering Defendants’, the Crestview Defendants’, and the Underwriter Defendants’ actions of

solicitation included participating in the preparation of the false and misleading May 2017

Registration Statement and participating in marketing the shares of the Camping World Class A

common stock to investors.

       256.    Camping World, the May 2017 Offering Defendants, the Crestview Defendants,

and the Underwriter Defendants owed to the purchasers of Camping World Class A common

stock, including lead plaintiff City of Pontiac General Employees’ Retirement System and other

Class members, the duty to make a reasonable and diligent investigation of the statements

contained in the May 2017 Registration Statement to ensure that such statements were true and

that there was no omission to state a material fact required to be stated in order to make the

statements contained therein not misleading. These defendants, in the exercise of reasonable

care, should have known of the misstatements and omissions contained in the May 2017

Registration Statement as set forth above.

       257.    Lead plaintiff City of Pontiac General Employees’ Retirement System and other

members of the Class purchased shares of Camping World Class A common stock pursuant to

the defective May 2017 Registration Statement. City of Pontiac General Employees’ Retirement

System did not know, nor in the exercise of reasonable diligence could have known, of the

inaccuracies and omissions contained in the May 2017 Registration Statement.




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       258.    By reason of the conduct alleged herein, the defendants named herein violated

§12(a)(2) of the Securities Act. Accordingly, members of the Class who hold shares of Class A

common stock have the right to rescind and recover the consideration paid for their shares and

hereby elect to rescind and tender those shares to the defendants sued herein, and Class members

who have sold their shares of the Class A common stock are entitled to rescissory damages.

                                          COUNT VII

                        For Violation of §11 of the Securities Act
              Against Camping World, the October 2017 Offering Defendants,
                            and the Underwriter Defendants

       259.    Plaintiffs incorporate ¶¶195-258 by reference.

       260.    The October 2017 Registration Statement was inaccurate and misleading,

contained untrue statements of material facts, omitted to state other facts necessary to make the

statements made not misleading, and omitted to state material facts required to be stated therein.

       261.    Camping World is the registrant for the shares of Camping World Class A

common stock, and as such is strictly liable for the false and misleading statements in the

October 2017 Registration Statement. The Underwriter Defendants, who served as underwriters

to the October 2017 Offering, and the October 2017 Offering Defendants, who signed the

October 2017 Registration Statement, were responsible for the contents and dissemination of the

October 2017 Registration Statement.

       262.    None of the defendants named herein made a reasonable investigation or

possessed reasonable grounds for the belief that the statements contained in the October 2017

Registration Statement were true and without omissions of any material facts and were not

misleading.

       263.    By reasons of the conduct alleged, each of the defendants named herein violated

§11 of the Securities Act.


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       264.    Named plaintiff Plumbers & Steamfitters Local Union #486 Pension Fund

purchased shares of Camping World Class A common stock in the October 2017 Offering and

pursuant to the October 2017 Registration Statement. At the time Plumbers & Steamfitters Local

Union #486 Pension Fund purchased those shares, it and other members of the Class were

without knowledge of the facts concerning the wrongful conduct alleged herein.

       265.    Plumbers & Steamfitters Local Union #486 Pension Fund and members of the

Class have sustained damages. The value of the shares of the Camping World Class A common

stock has declined substantially subsequent to and due to defendants’ violations.

                                         COUNT VIII

                       For Violation of §12(a)(2) of the Securities Act
              Against Camping World, the October 2017 Offering Defendants,
                the Crestview Defendants, and the Underwriter Defendants

       266.    Plaintiffs incorporate ¶¶195-265 by reference.

       267.    Camping World, the October 2017 Offering Defendants, the Crestview

Defendants, and the Underwriter Defendants were sellers and offerors and/or solicitors of

purchasers of the shares of the Camping World Class A common stock offered pursuant to the

October 2017 Registration Statement and were motivated by a desire to serve their own financial

interests or those of Camping World.

       268.    The October 2017 Registration Statement contained untrue statements of material

fact, omitted to state other facts necessary to make the statements made not misleading, and

omitted to state material facts required to be stated therein. Camping World’s, the October 2017

Offering Defendants’, the Crestview Defendants’, and the Underwriter Defendants’ actions of

solicitation included participating in the preparation of the false and misleading October 2017

Registration Statement and participating in marketing the shares of the Camping World Class A

common stock to investors.


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       269.    Camping World, the October 2017 Offering Defendants, the Crestview

Defendants, and the Underwriter Defendants owed to the purchasers of Camping World Class A

common stock, including named plaintiff Plumbers & Steamfitters Local Union #486 Pension

Fund and other Class members, the duty to make a reasonable and diligent investigation of the

statements contained in the October 2017 Registration Statement to ensure that such statements

were true and that there was no omission to state a material fact required to be stated in order to

make the statements contained therein not misleading. These defendants, in the exercise of

reasonable care, should have known of the misstatements and omissions contained in the October

2017 Registration Statement as set forth above.

       270.    Named plaintiff Plumbers & Steamfitters Local Union #486 Pension Fund and

other members of the Class purchased shares of Camping World Class A common stock pursuant

to the defective October 2017 Registration Statement. Plumbers & Steamfitters Local Union

#486 Pension Fund did not know, nor in the exercise of reasonable diligence could have known,

of the inaccuracies and omissions contained in the October 2017 Registration Statement.

       271.    By reason of the conduct alleged herein, the defendants named herein violated

§12(a)(2) of the Securities Act. Accordingly, members of the Class who hold shares of Class A

common stock have the right to rescind and recover the consideration paid for their shares and

hereby elect to rescind and tender those shares to the defendants sued herein, and Class members

who have sold their shares of the Class A common stock are entitled to rescissory damages.

                                           COUNT IX

                          For Violation of §15 of the Securities Act
              Against the Individual Defendants and the Crestview Defendants

       272.    Plaintiffs incorporate ¶¶195-271 by reference.




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       273.    Each of the Individual Defendants and the Crestview Defendants acted as

controlling persons of Camping World within the meaning of §15 of the Securities Act by virtue

of his or its position as a director, senior officer, and/or controlling shareholder. By reason of

their positions at the Company, the Individual Defendants and the Crestview Defendants,

individually and acting pursuant to a common plan, had the power to influence and exercised

such power to cause Camping World to engage in the conduct alleged herein.

       274.    The Crestview Defendants controlled Camping World by virtue of their majority

share ownership, power to appoint directors, agreements with the Company, and historical and

professional relationships with Camping World and the Individual Defendants as specified

herein. For example, the Company’s 2017 10-K characterized Camping World as a “‘controlled

company,’” stating in pertinent part:

               Pursuant to the terms of the Voting Agreement, Marcus Lemonis, through
       his beneficial ownership of our shares directly or indirectly held by ML
       Acquisition and ML RV Group, and certain funds controlled by Crestview
       Partners II GP, L.P., in the aggregate, have more than 50% of the voting power
       for the election of directors, and, as a result, we are considered a “controlled
       company” for the purposes of the New York Stock Exchange (the “NYSE”)
       listing requirements. As such, we qualify for, and rely on, exemptions from
       certain corporate governance requirements, including the requirements to have a
       majority of independent directors on our board of directors, an entirely
       independent nominating and corporate governance committee, an entirely
       independent compensation committee or to perform annual performance
       evaluation of the nominating and corporate governance and compensation
       committees.

       275.    By reason of the foregoing, the defendants named herein are liable pursuant to

§15 of the Securities Act.

       276.    Each of the Individual Defendants and the Crestview Defendants either signed the

October 2016 Registration Statement and/or the May 2017 Registration Statement and/or the

October 2017 Registration Statement and/or otherwise participated in the process which allowed

the sale of the shares of Camping World Class A common stock to be successfully completed.


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       277.    Camping World violated §§11 and 12(a)(2) of the Securities Act in connection

with the October 2016 IPO, the May 2017 Offering, and the October 2017 Offering, as alleged in

this complaint. By virtue of their positions as controlling persons, and as a result of their

aforementioned conduct, the Individual Defendants and the Crestview Defendants are liable

pursuant to §15 of the Securities Act for the §§11 and 12 violations.

                              CLASS ACTION ALLEGATIONS

       278.    Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class consisting of all persons and entities who

purchased or otherwise acquired Camping World publicly traded Class A common stock during

the period from October 6, 2016 through August 7, 2018, inclusive, including those who

purchased or acquired shares of Camping World Class A common stock in the Company’s initial

public offering, which occurred on or around October 6, 2016, and/or in the Company’s

secondary offerings, which occurred on or around May 26, 2017 and October 27, 2017, and who

were damaged by Defendants’ alleged conduct. Excluded from the Class are Defendants, the

officers and directors of the Company during the Class Period, members of the immediate

families of any excluded persons, any entity in which a Defendant has a controlling interest, and

the legal representatives, heirs, successors or assigns of any such excluded party; provided,

however, that any “Investment Vehicle” shall not be excluded from the Class. “Investment

Vehicle” means any investment company or pooled investment fund, including, but not limited

to, mutual fund families, exchange traded funds, fund of funds and hedge funds, in which

Defendants, or any of them, have, has or may have a direct or indirect interest, or as to which its

affiliates may act as an investment advisor, but in which any Defendant alone or together with

its, his or her respective affiliates is not a majority owner or does not hold a majority beneficial




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interest. Also excluded from the Class are those Persons who timely and validly exclude

themselves therefrom.

        279.      The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Camping World Class A common stock was

actively traded on the NYSE. According to the Company’s 2017 10-K, the Company had more

than 36.7 million shares of Class A stock outstanding as of March 12, 2018. There are likely

hundreds or thousands of members in the proposed Class. While the exact number of Class

members can only be determined by appropriate discovery, plaintiffs believe that Class members

number at least in the hundreds, if not thousands, and that they are geographically dispersed.

        280.      Plaintiffs’ claims are typical of the claims of the members of the Class because

plaintiffs’ and all the Class members’ damages arise from and were caused by the same

representations and omissions made by or chargeable to defendants. Plaintiffs do not have any

interests antagonistic to, or in conflict with, the Class.

        281.      Plaintiffs will fairly and adequately protect the interests of the members of the

Class and have retained counsel competent and experienced in class action and securities

litigation.

        282.      Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    Whether the federal securities laws were violated by defendants’ acts as

alleged herein;

                  (b)    Whether statements made by or chargeable to defendants during the Class

Period misrepresented or omitted material facts;




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                (c)     Whether the price of Camping World Class A common stock was

artificially inflated during the Class Period; and

                (d)     To what extent the members of the Class have sustained damages and the

proper measure of damages.

        283.    A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impracticable for members of the Class to individually

redress the wrongs done to them. Plaintiffs are not aware of any difficulty in the management of

this action as a class action.

                                     PRAYER FOR RELIEF

        WHEREFORE, plaintiffs pray for judgment as follows:

        A.      Declaring this action to be a class action properly maintained pursuant to Rule

23(a) and b(3) of the Federal Rules of Civil Procedure and certifying plaintiffs as Class

Representatives and Robbins Geller Rudman & Dowd LLP and Labaton Sucharow LLP as Class

Counsel;

        B.      Awarding compensatory damages in favor of plaintiffs and the other members of

the Class against all defendants, jointly and severally, for all damages sustained as a result of

defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

        C.      Awarding plaintiffs and other member of the Class recission or rescissory

measure of damages;

        D.      Awarding plaintiffs reasonable costs and expenses incurred in this action,

including attorneys’ fees, experts’ fees, and other costs and disbursements; and




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          E.   Awarding such equitable/injunctive or other relief as the Court may deem just and

proper.




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                                      JURY DEMAND

     Plaintiffs demand a trial by jury.

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                                 CERTIFICATE OF SERVICE

       I hereby certify under penalty of perjury that on March 12, 2020, I authorized the

electronic filing of the foregoing with the Clerk of the Court using the CM/ECF system which

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Notice List, and I hereby certify that I caused the mailing of the foregoing via the United States

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         Holdings, Inc. et al
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